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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


    IN RE: JOHNSON & JOHNSON
    TALCUM POWDER PRODUCTS
    MARKETING, SALES
    PRACTICES, AND PRODUCTS
    LIABILITY LITIGATION


    THIS DOCUMENT RELATES TO           MDL No. 16-2738 (MAS) (RLS)
    THE FOLLOWING CASES:

    Bondurant v. Johnson & Johnson,
    No. 3:19-cv-14366

    Converse v. Johnson & Johnson,
    No. 3:18-cv-17586

    Gallardo v. Johnson & Johnson,
    No. 3:18-cv-10840

    Judkins v. Johnson & Johnson,
    No. 3:19-cv-12430

    Newsome v. Johnson & Johnson,
    No. 3:18-cv-17146

    Rausa v. Johnson & Johnson,
    No. 3:20-cv-02947




   PLAINTIFFS’ STEERING COMMITTEE’S RESPONSE IN OPPOSITION
       TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
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                                 INTRODUCTION

      Since 1971, the scientific academy has examined the question of whether

talcum powder can cause ovarian cancer. For more than ten years, expert witnesses

on both sides of this litigation have also continued to examine the question. Contrary

to the misleading picture painted in Defendants’ motion, the verdict is now clearer

than ever: Defendants’ talcum powder products (“The Products”) 1 can cause ovarian

cancer.

      More than 40 scientific articles have been published regarding the association

between talcum powder use and ovarian cancer in the past 50+ years.2 In totality,

the data demonstrate “a consistent, replicated, and statistically significant increased

risk of developing epithelial ovarian cancer with perineal talcum powder use.”3

National and international regulatory organizations have also found an association

between genital talc use and ovarian cancer. These include agencies as global and

diverse as Health Canada; World Health Organization’s International Agency for

Research on Cancer (IARC); National Institutes of Health (NIH); Environmental

Protection Agency (EPA); an Interagency Working Group including representatives

from the FDA, NIH, NIOSH, NEIHS, and EPA; the Ovarian Cancer Association



1
  “The Products” refers to Johnson’s Baby Powder and Shower to Shower products
containing talcum powder.
2
  Ex. 1, Third Amd. Rule 26 Expert Rep. of Judith Wolf, MD (“Wolf Rep.”) at 5.
3
  Id. at 11.

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Consortium (OCAC); and the Institute of Medicine (IOM).

       Talcum powder products are considered cosmetics, which are regulated by the

FDA. Pursuant to FDA standards, (1) the company that manufactures or markets the

product must ensure the safety of the product; (2) if a manufacturer cannot

substantiate safety, the product should be removed from the market; (3) if there is

any information regarding a hazard, a manufacturer must warn of the hazard.4

       Johnson & Johnson and LLT Management, LLC’s (“Defendants” or “J&J”)

Motion for Summary Judgment (“Motion”) only highlights the plethora of disputed

material facts in this litigation. Couple that with the evidentiary support for each of

Plaintiffs’ claims, and Defendants’ Motion for Summary Judgment must be denied

in its entirety.

                                 CHOICE OF LAW

       As an initial matter, the Court must decide what state’s substantive laws will

apply to the causes of action. “[New Jersey’s] choice-of-law jurisprudence has

striven to structure rules that will lead to predictable and uniform results that are fair



4
 Ex. 2, FDA Authority Over Cosmetics – How Cosmetics Are Not FDA-
Approved, but Are FDA-Regulated, available at
https://www.fda.gov/cosmetics/cosmetics-laws-regulations/fda-authority-over-
cosmetics-how-cosmetics-are-not-fda-approved-are-fda-regulated (last visited Sep.
22, 2024); Ex. 3, Fourth Amd. Expert Rep. of David A. Kessler, M.D. (“Kessler
Rep.”) at 7-8, 118.



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and just and that will meet the reasonable expectations of the parties.” McCarrell v

Hoffman-La Roche, Inc., 227 N.J. 569, 573, 153 A.3d 207 (2017). New Jersey courts

use the Restatement (Second) of Conflicts of Laws (Am. Law Inst. 1971, amended

1988) (“Restatement”) for personal injury cases, applying the Restatement’s most-

significant relationship test. See In re: Accutane Litigation, 235 N.J. 229, 235, 194

A.3d 503 (N.J. 2018); see also P.V. ex rel. T.V. v. Camp Jaycee, 197 N.J. 132, 135-

36, 962 A.2d 453 (2008). The originating jurisdictions of the six bellwether Plaintiffs

apply the same or similar choice-of-law standards. See O’Connor v. O’Connor, 201

Conn. 632 (1986) (stating Connecticut (Ms. Converse) has moved toward an

embrace of the Restatement principles since 1986 in cases involving torts); Bishop

v. Florida Specialty Paint Co., 389 So.2d 999, 1001 (Fla. 1980) (Florida (Ms. Rausa)

adopting the significant relationship test from the Restatement); 5 Egan v. Kaiser

Aluminum & Chemical Corp., 677 So.2d 1027, 1037 (La. App. 4 Cir. 1996) (holding



5
  Defendants incorrectly assert that New York should be the originating jurisdiction
for Ms. Rausa’s cause of action. (Defendants’ Memorandum of Points and
Authorities in Support of Motion for Summary Judgment (“Deft. Memo.”) at 5).
Florida should be the originating jurisdiction. Ms. Rausa identified the United States
District Court for the Middle District of Florida as the proper venue. See Ex. 4,
Rausa Short Form Complaint (Mar. 17, 2020) at 4. Ms. Rausa is a Florida resident
who was diagnosed with ovarian cancer in 2018 while a resident of Florida and who
has received medical treatment in Florida. See Tune v Philip Morris, Inc., 766 So.2d
350, 354 (2000) (holding plaintiff’s “injury” occurred in Florida because, after
prolonged exposure, that is where the diagnosable disease manifest and the burden
is on defendant to persuade the court that a different state has a more significant
relationship).

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it is well settled that Louisiana (Ms. Bondurant) applies the most significant

relationship test from the Restatement); Elmore v. Owens-Illinois, Inc., 673 S.W.2d

434, 436 (Mo. Banc 1984) (Missouri (Ms. Gallardo) adopting Restatement for

application in tort cases).6

      Procedurally, in conducting a choice-of-law analysis, “the first step is to

determine whether an actual conflict exists through an examination of the substance

of the potentially applicable laws to determine whether there is a distinction between

them.” Calabotta v. Phibro Animal Health Corp., 460 N.J. Super. 38, 54, 213 A.3d

210 (App. Div. 2019) citing Camp Jaycee, 197 N.J. at 143. If no choice-of-law

conflicts exist, “then ‘there is no choice-of-law issue to be resolved,’ and the forum

state applies its own law.” Id. (citations omitted). If a conflict does exist, the

presumption is that the laws of the state where the injury occurred apply. See

Accutane, 235 N.J. at 259. That presumption may be overcome if “some other state

has a more significant relationship with the parties and the occurrence based on an

assessment of each state’s contacts” viewed through the prism of section 145, which



6
  Maryland (Ms. Newsome) adheres to the doctrine of lex loci delicti, which applies
the law of the place of injury as to all matters of substantive law. See Lewis v.
Waletzky, 31 A.3d 123, 129 (Md. 2011). New Hampshire (Ms. Judkins) considers (1)
the predictability of results; (2) the maintenance of reasonable orderliness and good
relationships among the States in the federal system; (3) simplification of the judicial
task; (4) advancement of the governmental interest of the forum; (5) and the court’s
preference for what it regards as the sounder rule of law.” LaBounty v American Ins.
Co., 451 A.2d 161, 163 (1982).

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sets forth general principles for tort actions, and section 6, which lists overarching

choice-of-law principles. Id., citing McCarrell, 227 N.J. at 590. Importantly, as

necessary, choice of law questions may be decided on an “issue-by-issue” basis. See

Fairfax Fin. Holdings Ltd. v. S.A.C. Capital Mgmt., LLC, 450 N.J. Super. 1, 33, 160

A.3d 44 (App. Div. 2017).

      Under the choice-of-law principles of each of the states at issue, there is no

choice-of-law conflict related to Plaintiffs’ compensatory damages claims.

However, as outlined in Section II.D, infra, with respect to plaintiffs’ claims for

punitive damages, New Jersey has a more significant relationship under the

principles stated in Restatement §6, and New Jersey law should apply to all punitive

damages claims.

                               LEGAL STANDARD

      Under Federal Rule of Civil Procedure 56(a), summary judgment is

appropriate only when the movant shows that there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law. Fed. R. Civ.

P. 56(a). A fact is “material” if it might affect the outcome of the case under the

governing law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A dispute

is “genuine” if the evidence is such that a reasonable jury could return a verdict for

the non-moving party. Id. The moving party must also demonstrate that, based on




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the undisputed facts, they are entitled to judgment in their favor according to the

applicable law. Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).

      The burden of proof in a summary judgment motion is initially on the moving

party to demonstrate the absence of a genuine issue of material fact. Id. at 325. This

can be done by citing to parts of materials in the record, including depositions,

documents, electronically stored information, affidavits, or declarations. Fed. R. Civ.

P. 56(c)(1). The court may not weigh the evidence, make credibility determinations,

or assess the quality of the evidence. Boyle v. County of Allegheny, 139 F.3d 386,

393 (3d Cir. 1998); see also Suter v. General Accident Ins. Co., 2004 WL 3751734,

at *12 (D.N.J. Sept. 30, 2004) (summary judgment inappropriate where the parties

“presented the Court with two very different versions of the events,” which would

have required the Court to make inferences about issues of fact). In determining

whether an issue of material fact exists, the court must consider all evidence and

inferences in the light most favorable to the nonmoving party. Id. Once the moving

party has met its burden, the burden shifts to the non-moving party to show that there

is a genuine issue for trial. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475

U.S. 574, 586 (1986).

                                   ARGUMENT

I. DEFENDANTS ARE NOT ENTITLED TO SUMMARY JUDGMENT ON
   PLAINTIFFS’ CAUSATION CLAIMS




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        Defendants argue that all of Plaintiffs’ claims fail because they cannot prove

general or specific causation.7 Defendants’ Motion should be denied for two reasons:

(1) the Motion is premature; and (2) genuine issues of material fact exist regarding

general and specific causation, which preclude summary judgment.

     A. Defendants’ Motion is Premature

        “[A] motion for summary judgment may be dismissed as premature if made

before the trial court has had the opportunity to hold a Daubert hearing and consider

the admissibility of plaintiffs’ proffered expert testimony.” Buzzerd v. Flagship

Carwash of Port St. Lucie, 2009 WL 105501, at *3 (M.D. Pa. Jan. 16, 2009) (internal

citations and alterations omitted), citing McConaghy v. Sequa Corp., 294 F. Supp.

2d 151, 168 (D.R.I. 2003) (noting that a Daubert motion in limine is the proper

vehicle for challenging an expert’s admissibility; denying defendant’s motion for

summary judgment as premature); Assicurazioni Generali S.P.A. v. Distribution

Unlimited, Inc., 2005 WL 3531458 (N.D.N.Y. 2005) (same); Taylor v. Jersey City

Medical Center, 2005WL 3501877 (N.J. Super. Law Div. 2005) (same). “Where

essential elements of a plaintiffs’ case depend on expert testimony, a determination

of defendants’ summary judgment motion must be preceded by a determination of

the relevance and reliability, and hence admissibility, of the proffered expert

testimony.” Heller v. Shaw Indus., 1997 WL 535163, at *7 (E.D. Pa. Aug. 18, 1997).


7
    Deft. Memo. at 6.

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“Therefore, to the extent that the defendants base their motion for summary

judgment on the inadmissibility of the plaintiffs’ experts’ testimony, the motion

should be dismissed . . . without prejudice to re-filing if the trial court subsequently

excludes the plaintiffs’ expert witnesses.” Buzzerd, 2009 WL 105501, at *3. This is

true when defendants’ motion for summary judgment is based on plaintiffs’ inability

to adduce expert evidence to establish general or specific causation. See id.; In Re:

Bair Hugger Forced Air Warming Devices Prod. Liab. Litig., 9 F.4th 768, 790 (8th

Cir. 2021) (reversing MDL court’s order excluding plaintiffs’ general causation

experts as well as the derivative order granting summary judgment); Godreau-

Rivera v. Coloplast Corp., 598 F. Supp. 3d 196, 216 (D. Del. 2022) (court denied

Daubert motions related to specific causation opinions; thus, motion for summary

judgment with respect to all plaintiffs’ claims based on specific causation was

denied); In re: Aredia and Zometa Prod. Liab. Litig., 2013 WL 12246576, at *2

(M.D. Tenn. July 5, 2013) (“Having denied the request to exclude Plaintiffs’

causation experts, Defendant’s Motion for Summary Judgment based upon lack of

general causation proof is also DENIED.”); Wagoner v. Exxon Mobil Corp., 813 F.

Supp. 2d 771, 805 (E.D. La. 2011) (where expert testimony on general and specific

causation was found admissible, motion for summary judgment must be denied).

      Defendants in the case at hand have filed Daubert Motions to Exclude

Plaintiffs’ expert witnesses’ opinions regarding both general and specific causation.


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Those motions are pending before the Court. Until those motions are ruled upon,

Defendants’ Motion for Summary based on general and specific causation is

premature. Thus, Defendants’ Motion must be denied.

    B. Genuine Issues of Material Fact Preclude Summary Judgment on
       Plaintiffs’ General Causation Claims

       Even if Defendants’ Motion were not premature, genuine issues of material

fact preclude summary judgment on Plaintiffs’ general and specific causation claims.

“General causation is established by demonstrating, often through a review of

scientific and medical literature, that exposure to a substance can cause a particular

disease.” In re: Zofran (Ondansetron) Prod. Liab. Litig., 423 F. Supp. 3d 1, 4 (D.

Mass. 2019) (citing Mary Sue Heflin, et al., Reference Guide on Med. Testimony, in

Reference Manual on Sci. Evid. 439, 444 (Fed. Judicial Ctr. 2d ed. 2000)).

“Evidence of causation is susceptible to summary judgment only in plain and

undisputable cases.” Moon v. Advanced Med. Optics, Inc., 2010 WL 11508948, at

*4 (N.D. Ga. Apr. 13, 2010). “Otherwise, the question of causation is one for the

jury.” Id.

       1. The Scientific Literature Supports a Finding of General Causation8

       The state of the science supports a finding of general causation and precludes summary



8
 For a thorough discussion of the history of the scientific research and its findings,
please see The PSC’s Memorandum of Law in Opposition to Defendants’ Motion to
Exclude Plaintiffs’ General Causation Opinions (Doc. 33130).

                                             9
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judgment. To date, there are approximately thirty published case-control studies, six

cohort studies, nine meta-analyses, and three pooled analyses that address whether

talcum powder causes ovarian cancer.9 As stated by Plaintiffs’ expert Dr. Anne

McTiernan, “The consistency across studies, led by many investigators, using different study

designs, and in diverse ethnic, racial, and geographic populations over a period of nearly 35

years weighs heavily as to the consistency and reliability of the data in favor of a causal risk.”10

       •      Case-control studies. The case-control studies conducted over the
decades involve dozens of authors, different study populations, and different
countries. Of the approximately thirty case-control studies published to date
involving thousands of ovarian cancer cases, nearly all showed a positive
association, and the majority were statistically significant.11 Overall, the case-control
studies consistently show a 30-50% increased risk of ovarian cancer with talcum
powder use.12 Plaintiffs’ experts consider that valuable information on causality.

        •    Cohort studies. To date, there are six published studies regarding talc
with data coming from three different cohorts—the Nurses’ Health Study (NHS),
the Women’s Health Initiative (WHI), and the Sister Study. Five of the six cohort
publications showed a positive association, with one showing statistical
significance.13 As Plaintiffs’ experts have explained, the three individual cohorts had
significant limitations that explain the lack of statistical significance. Four
publications have addressed those same shortcomings. Once those limitations were
addressed, the four studies found statistically significant results supporting a positive
association between talcum powder use and ovarian cancer.14

9
  See Wolf Rep. at 7, 10.
10
   Ex. 5, Third Amd. Expert Rep. of Anne McTiernan, M.D., Ph.D. (“McTiernan
Rep.”)
11
   See Wolf Rep. at 7.
12
   Id.
13
   Id.
14
   Ex. 6, O’Brien, et al., Association of Powder Use in the Genital Area with Risk of
Ovarian Cancer, 323 JAMA 50 (2020) (finding an 8% increased overall risk (1.08
(CI 0.99–1.17)) and a statistically significant 13% increased risk (1.13 (CI 1.01–
1.26)) for women with open reproductive tracts; Ex. 7, O'Brien, et al., Intimate Care

                                                10
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         •    Meta-analyses and the pooled study. To date, there are nine meta-
analyses and three pooled studies that examine the association between ovarian
cancer and talcum powder use.15 The nine meta-analyses calculated summary
relative risks that were consistent across the publications, ranging from 1.22 to
1.47. 16 Similarly, the pooled studies indicate relative risks between 1.08 and 1.36.17

      Thus, these “studies of studies” showed consistent and positive associations

between talcum powder use and ovarian cancer.

      2. Regulatory Authorities and Professional Organizations Acknowledge
         a Causal Association Between Talcum Powders and Ovarian Cancer

      Regulatory authorities and international professional scientific organizations

have weighed in and have concluded that cosmetic talc powder—with or without

asbestos—can cause ovarian cancer. These include Health Canada (2021) 18, IARC




Products and Incidence of Hormone-Related Cancers: A Quantitative Bias Analysis,
J Clin Oncol 00:1-15 (2024) (finding a statistically-significant increased risk of 1.82
(CI 1.36–2.43), or 82% increased risk, which became even more pronounced with
long term talc use); Ex. 8, Woolen, et al., Association Between the Frequent Use of
Perineal Talcum Powder Products and Ovarian Cancer: A Systematic review and
Meta-Analysis, 37 J. Gen. Intern. Med. 2526 (2022) (finding frequent use of perineal
talcum powder was associated with an increased risk of ovarian cancer, with a pooled
adjusted odds ratio of 1.47 (CI 1.31–1.65), or a 47% increased risk. Looking solely
at the Nurse’s Health Study cohort data, the odds ratio was 1.40 (CI 1.31–1.65)); Ex.
9, Chang et al., Use of personal care product mixtures and incident hormone-
sensitive cancers in the Sister Study: A U.S.-wide prospective cohort, Environment
Int’l 183 (2024) (finding an HR of 1.06 for a woman who used talcum powder one
time per week, which equates to 1.26 for a five day a week user.).
15
   See Ex.1, Wolf Rep. at 10.
16
   Id.
17
   Id.
18
   Ex. 10, Health Canada, Screening Assessment (April 2021) at p. iii, 36, 43, 45.

                                          11
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(2024)19, NIH (2024)20, EPA (2023 & 2024) 21, and OCAC (2022). 22 As recently as

May 2024, IARC reclassified talc, finding that talc alone probably causes ovarian

cancer, and talc with asbestos definitely does. 23

      3. It is Generally Accepted That Talcum Powders Contain Asbestos

       The regulatory and scientific communities have also accepted that

 cosmetic talc products have, in fact, contained asbestos. This is critical since

 the presence of asbestos, a known carcinogen, would provide additional

 evidence that talcum powder can cause ovarian cancer.24 Specifically the FDA,

 NIH, EPA and similar agencies have acknowledged that talc mined for

 consumer products may contain asbestos. 25 As noted above, IARC (2024)


19
   Ex. 11, Stayner et al., Carcinogenicity of Talc and Acrylonitrile, The Lancet (July
5, 2024); Ex. 12, IARC Monographs Evaluate the Carcinogenicity of Talc and
Acrylonitrile: Questions and Answers (July 5, 2024).
20
   Ex. 13, NIH/NIEHS Environmental Factor, Genital talc use may be linked to
increase risk of ovarian cancer (June 2024).
21
   88 Fed. Reg. 47782, 47790 (July 25, 2023) (to be codified at 40 C.F.R. pt. 704);
89 Fed. Reg. 21970, 21970 & 21973 (2024).
22
    Ex. 14, Phung M et al., Effects of risk factors for ovarian cancer in women with
and without endometriosis, 118 Fertility and Sterility 960 (Nov. 2022); Ex. 15, Terry
et al., Genital Powder Use and Risk of Ovarian Cancer: A Pooled Analysis of 8,525
Cases and 9,859 Controls, 6(8) Cancer Prev. Res. 811 (2013).
23
   Ex. 16, Fidalgo, Talc is classified as “probably carcinogenic to humans” by the
IARC, Science Media Center Spain (May 7, 2024).
24
   J&J’s own consultants and experts agreed that the presence of asbestos
would support a causal inference. Ex. 17, Huncharek & Muscat, Perineal talc
use and ovarian cancer risk: a case study of scientific standards in
environmental epidemiology, 20 Eur. J. Cancer Prevention 501, 505 (2011).
25
   86 Fed. Reg. 74088 (Dec. 19, 2021) (“talc has been implicated as a potential
source of asbestos exposure”); 88 Fed. Reg. 47782, 47784 (Jul. 25, 2023)

                                          12
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 concluded that talc with asbestos definitively causes ovarian cancer. 26

      4. The Disputed Material Facts

      Based on the scientific literature and findings by regulatory and professional

organizations, Plaintiffs’ expert witnesses maintain that talcum powder is capable of

causing epithelial ovarian cancer based on the following:

      • Talcum powder generally, and Defendants’ products specifically, contain
        known carcinogens, including asbestos, fibrous talc, and heavy metals.27

      • There is a consistent association, across decades of epidemiologic studies
        of different designs and with different researchers involving different



(“asbestos is being mined or milled . . . as an impurity” in talc); 89 Fed. Reg.
21970, 21970, 21973 (Mar. 28, 2024) (“Additionally, some talc deposits and
articles containing talc have been shown to contain asbestos.”).Ex. 18, FDA,
Johnson’s Baby Powder voluntarily recalled after testing positive for asbestos (Oct.
18, 2019); Ex. 19, IWGACP, Preliminary Recommendations on Testing Methods
for Asbestos in Talc and Consumer Products Containing Talc (Jan. 6, 2020), at 2;
Ex. 20, Appendices to White Paper: IWGACP Scientific Opinion on Testing
Methods for Asbestos in Cosmetic Products Containing Talc (Dec. 2021), App’x F,
at 55; 86 Fed. Reg. 74088 (Dec. 19, 2021) (“talc has been implicated as a potential
source of asbestos exposure”); 88 Fed. Reg. 47782, 47784 (Jul. 25, 2023)
(“asbestos is being mined or milled . . . as an impurity” in talc); 89 Fed. Reg.
21970, 21970, 21973 (Mar. 28, 2024) (“Additionally, some talc deposits and
articles containing talc have been shown to contain asbestos.”); Ex. 21,
Wentzensen & O’Brien, Talc, Body Powder, and Ovarian Cancer: A Summary Of
the Epidemiologic Evidence, 163 Gynecol. Oncol. 199 (2021), at 200 (“While talc
products since the 1980s have been considered asbestos-free, recent reports have
suggested that low-level contamination of talc with asbestos fibers may have
persisted in some cosmetic products.”).
26
   Ex. 12, IARC (2024), Questions and Answers, at 4. See also Ex. 11, Stayner (2024)
at 1.
27
   Ex. 22, Third Amd. Rule 26 Expert Rep. of Daniel L. Clarke-Pearson, MD
(“Clarke-Pearson Rep.”) at 7-8; Ex. 1, Wolf Rep. at 21.

                                         13
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         patient populations that have demonstrated genital talc use is associated
         with a risk of epithelial ovarian cancer. 28

      • The increased risk of epithelial ovarian cancer seen in these studies is
        between 20–60%.29

      • There is evidence of a dose-response relationship, because risk increases
        with both frequency and duration of genital talc use. 30

      • It is biologically plausible that genital talcum powder causes ovarian
        cancer based upon evidence that talcum powder can migrate from the
        perineal area, through the open female genital tract, and reach the
        fallopian tubes and ovaries where it creates an inflammatory response. 31

      Defendants disagree with every one of these facts. There is a genuine dispute

between the parties because, based upon this evidence, a reasonable jury could return



28
   Ex. 5, McTiernan Rep. at 98; Ex. 22, Clarke-Pearson Rep. at 10; Ex. 1, Wolf
Rep. at 21; Ex. 13, NIH/NIEHS Environmental Factor, at 2 (there is a “[p]ersistent
positive association between genital talc use and ovarian cancer.”); Ex. 23, ASCO
Press Release, Study Finds Association Between Genital Talc Use and Increased
Risk of Ovarian Cancer (May 15, 2024).
29
   Ex. 22, Clarke-Pearson Rep. at 8; Ex. 1, Wolf Rep. at 11.
30
   Ex. 22, Clarke-Pearson Rep. at 13; Ex. 1, Wolf Rep. at 19; Ex. 6, O’Brien (2020);
Ex. 7, O’Brien (2024) (“The association between genital talc use and ovarian cancer
was higher for frequent, 1.81 [], and long-term users, 2.01 [], compared with never
users.”); Ex. 11, Stayner (2024) at 2 (“more consistent positive associations between
associations for ever-use versus never-use have been reported in pooled cohort
studies and case-control studies”); Ex. 8, Woolen (2022) (a pooled cohort study
found a 1.4 increased risk for daily users in an analysis of Nurse’s Health Study
cohort data and an overall risk of between 31% and 65% for frequent use across all
combined studies.).
31
   See, e.g., Ex. 24, Ogunsina, et al., Association of genital talc and douche use in
early adolescence or adulthood with uterine fibroid diagnoses, 229 Am. J. Obst. &
Gyn. 665 (Dec. 2023) (talc can migrate, and “once deposited onto epithelial cells, it
can cause chronic inflammation, leading to a series of mutagenic events, and this
effect is worse in talc contaminated with asbestos, a known carcinogen.”).

                                         14
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a verdict for the Plaintiffs (and many have). These facts are material because each

of them has the potential to affect the outcome of the case under the governing law.

Because there are genuine issues of material fact, Defendants are not entitled to

judgment as a matter of law.

   C. Genuine Issues of Material Fact Likewise Preclude Summary Judgment
      on Plaintiffs’ Specific Causation Claims

      “Specific, or individual, causation . . . is established by demonstrating that a

given exposure is the cause of an individual’s disease.” In re: Zofran (Ondansetron)

Prod. Liab. Litig., 423 F. Supp. at 4. When reviewing a motion for summary

judgment in a product liability case, “it is appropriate for courts . . . to make a

reasoned assessment concerning whether, in light of the evidence concerning

frequency, regularity, and proximity of a plaintiff’s . . . asserted exposure, a jury

would be entitled to make the necessary inference of a sufficient causal connection

between the defendant’s product and the asserted injury.” Rothenbecker v. 3M Co.,

2018 WL 3007896, at *3 (M.D. Pa. June 15, 2018) (internal citation omitted). Courts

have held particularly that the issue of specific causation is one for the jury. See

Buzzerd, 2009 WL 105501, at *2.

      1. The Disputed Material Facts

      Regardless of which negligence standard applies or what issues Defendants

may take with Plaintiffs’ experts’ opinions (which are addressed in Plaintiffs’




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responses to Defendants’ Daubert motions), the following disputed material facts,

among others, preclude summary judgment on Plaintiffs’ specific causation claims.

             a. Linda Bondurant

       1.     Defendants claim                              has not been linked to talc
in the scientific literature. To the contrary, Plaintiffs’ expert, Dr. Wolf, stated that
                             32

                       is a histologic subtype associated with genital talcum powder.33
Terry (2013) 34, for example, supports an association between
cancer and talc use.

       2.    Ms. Bondurant used talc for 20 years prior to her             . Whether
that duration was sufficient to contribute to her              is a disputed fact.35

             b. Hilary Converse

      1.     As noted above, the epidemiological literature acknowledges an
association between                     and talcum powder use.36

      2.     Ms. Converse is currently 75 years old, not 85 as Defendants contend.
This dispute is material to her age at the time of diagnosis.37

       3.     Whether Ms. Converse had                      is a disputed fact, which
Plaintiffs deny. 38




32
   Defendants’ Statement of Uncontested Material Facts (“SUMF”) ¶ 3.
33
   Ex. 25, Second Amd. Rule 26 Expert Rep. of Judith Wolf, MD – Bondurant
(“Wolf’s Bondurant Rep.”) at 24.
34
   Ex. 15, Terry (2013).
35
   Ex. 25, Wolf’s Bondurant Rep. at 23; SUMF ¶ 7.
36
   Ex. 26, Second Amd. Rule 26 Expert Rep. of Daniel L. Clarke-Pearson, MD –
Converse (“Clarke-Pearson’s Converse Rep.”) at 17; Ex. 15, Terry (2013).
37
   SUMF ¶ 10.
38
   Ex. 26, Clarke-Pearson’s Converse Rep. at 18; SUMF ¶ 12.

                                          16
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      4.
             The number of years Ms. Converse used
and the clinical significance of that therapy is disputed. 39

             c. Anna Gallardo

      1. Whether Ms. Gallardo had sufficient perineal use of talcum powder to
support causation is a disputed fact. It is Plaintiffs’ position that Defendants’ latency
period argument is not dipositive.40

       2. Whether Ms. Gallardo’s brief use of                        contributed to her
risk of            r is a disputed fact.41

             d. Carter Judkins

       1. Defendants’ Memo does not raise any case-specific facts (material or
otherwise) that would entitle them to summary judgment in Ms. Judkins’ case. In
fact, she is not even mentioned in this section of Defendants’ Memo.

      2. Whether Ms. Judkins’                     played a role in her development of
ovarian cancer is a disputed fact.42

             e. Tamara Newsome

      1. Despite Defendants’ contentions, the scientific literature supports an
association between                    and talcum powder use. 43

      2. There is a dispute as to whether Ms. Newsome has any relevant f
                                                      . 44

39
   Ex. 26, Clarke-Pearson’s Converse Rep. at 18; SUMF ¶ 13.
40
   Ex. 27, Second Am. Rep. of Judith Wolf, M.D. – Gallardo (“Wolf’s Gallardo
Rep.”) at p. 23; Deft. Memo. at 16.
41
   Deft. Memo. at 19; PSC’s Responsive Statement of Material Facts in Opposition
to Defendants’ Motion for Summary Judgment (“PSC’s Stmt. Material Facts” ¶
19).
42
   PSC’s Stmt. Material Facts ¶ 23.
43
   Ex. 28, Second Amd. Rule 26 Expert Rep. of Daniel L. Clarke-Pearson, MD –
Newsome (“Clarke-Pearson’s Newsome Rep.”) at 18; Deft. Memo at 15.
44
   Ex. 28, Clarke-Pearson’s Newsome Rep. at 18; SUMF ¶ 27.

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      3. There is a dispute as to whether the                                ermined
             discovered in Ms. Newsome’s
                               45



      4. There is a dispute as to whether Ms. Newsome had a history of
             .46

      5. There is a dispute as to Ms. Newsome’s                                    the
time of her                  , and whether her       was clinically significant to her
development of ovarian cancer. 47

            f. Pasqualina Rausa

      1. The date of Ms. Rausa’s                is disputed.48

      2. Ms. Rausa had at least 20 years of talcum powder use before her
         which Dr. Clarke-Pearson testified is sufficient exposure to contribute to
the development of                  . Defendants disagree. 49

      3. Whether Ms. Rausa had evidence of                                       is a
disputed fact. 50

      4. Whether Ms. Rausa’s              contributed to her development of
       is a disputed fact.51

      Based upon the evidence, when weighed in favor of Plaintiffs, a reasonable

jury could return a verdict in Plaintiffs’ favor; thus, genuine issues exists. The


45
   PSC’s Stmt. Material Facts ¶ 28; SUMF ¶ 28.
46
   Ex. 28, Clarke-Pearson’s Newsome Rep. at 19; SUMF ¶ 29.
47
   Ex. 28, Clarke-Pearson’s Newsome Rep. at 19; SUMF ¶ 30.
48
   PSC’s Stmt. Material Facts ¶ 34; SUMF ¶ 34.
49
   Ex. 29, Dep. of Clarke-Pearson, Aug. 27, 2021, at 656:1-659:24; Ex. 30, Second
Amd. Expert Rep. of Dr. Daniel Clarke-Pearson, MD – Rausa (“Clarke-Pearson’s
Rausa Rep.”) at 18; SUMF ¶ 34.
50
   Ex. 30, Clarke-Pearson’s Rausa Rep. at 18; SUMF ¶ 37.
51
   PSC’s Stmt. Material Facts ¶ 37; SUMF ¶ 37.

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disputed facts listed above are material because they have the potential to affect the

outcome of the case under the governing law. Summary judgment is not warranted.

       2. The Evidence Weighed in Plaintiffs’ Favor

       The bellwether Plaintiffs, frequently, if not daily, applied Johnson’s Baby

Powder and/or Shower to Shower to their genital area for decades—the shortest

period being 20 years, the longest being 55 years, and the average being just over 42

years. 52 The number of lifetime applications for each Plaintiff ranges from

approximately 7,000 to 20,000. Over the course of these decades, bellwether

Plaintiffs used between 221 and 568 containers of The Products. 53 Drs. Longo and

Rigler found asbestos in 75-80% of the talc samples from the time period in

question. 54

       It is appropriate for the Court to make a reasoned assessment concerning

whether, in light of the evidence concerning frequency, regularity, and proximity of

Plaintiffs’ exposure, a jury would be entitled to make the necessary inference of a

sufficient causal connection between The Products and the asserted injury.

Rothenbecker, 2018 WL 3007896, at *3. Given the state of the scientific evidence,

the expert testimony, and Plaintiffs’ exposure to The Products, it is appropriate for


52
   Ex. 31, William E. Longo, Jr., Expert Report, MDL - Johnson’s Baby Powder
Application and Exposure Container Calculations for Six Ovarian Cancer Victims
Bellwether Cases.
53
   Id.
54
   Id.

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the Court to determine, at the very least, that issues of material fact exist precluding

summary judgment on Plaintiffs’ specific causation claims.

II. DEFENDANTS ARE NOT ENTITLED TO SUMMARY JUDGMENT ON
    ANY OF PLAINTIFFS’ ADDITIONAL CLAIMS

     A. Genuine Questions of Material Fact Exist Regarding Plaintiffs’ Claims
        for Express Warranty, Negligent Misrepresentation, Fraud, and
        Fraudulent Concealment

     As noted above, Defendants have the burden under Rule 56 to show that they are

entitled to summary judgment on each of the claims alleged by each Plaintiff.

Defendants have failed to carry their burden and demonstrate why summary

judgment should be granted. Specifically, as to the Plaintiffs’ claims for: 1) breach

of express warranty; 2) negligent misrepresentation; 3) fraud; and 4) fraudulent

concealment, Plaintiffs have submitted sufficient evidence supporting these claims

to allow their cases to proceed to trial.

        1. Plaintiffs’ Breach of Warranty Claims Withstand Defendants’
           Summary Judgment Challenge

        Pursuant to CMO 2 and 3 governing venue of cases directly filed in this MDL,

choice of law for breach of warranty claims are determined by the law of the district

identified by each Plaintiff in their respective Short Form Complaints. 55



55
   Plaintiffs agree that the combination of choice of law principles and CMOs 2 and
3, result in the laws of Plaintiffs’ home states governing the claims of fraud,
fraudulent concealment, negligent misrepresentation, assumption of duty, civil
conspiracy, aiding and abetting and manufacturing defect. Plaintiffs however do not

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      Breach of express warranty claims require an “affirmation of fact or promise

… which relates to the goods and becomes part of the basis of the bargain.” Mo.

Stat. § 400.2-313(1)(a); see also Md. Code Com. L. § 2-313(1)(a); Conn. Gen. Stat.

§ 42a-2-313(1); N.H. Rev. Stat. § 382-A:2-313(1)(a); F.S.A. § 672.313(1)(a); La.

Rev. Stat. § 9:2800.53(6) (“‘Express warranty’ means a representation, statement of

alleged fact or promise about a product … that represents, affirms or promises that

the product … will meet a specified level of performance.”)

      Defendants argue that their representations regarding talc were just

“puffery.” 56 Defendants suggest that there is no warranty in the voluminous

statements, affirmations, and promotions about The Products and their safety.

However, courts have found that advertisements and marketing materials can

support breach of express warranty claims.57 A plaintiff asserting breach of express


agree that the law of the home state of each Plaintiff governs Punitive Damages,
which issue is briefed herein at Section II.D.
56
   Deft. Memo. at 18-19.
57
   See Gerrity v. R.J. Reynolds Tobacco Co., 399 F.Supp.2d 87, 91 (D. Ct. 2005)
(defendants’ “massive publicity campaign to warrant the safety of its products” can
be part of the basis of the bargain); Kelleher v. Marvin Lumber & Cedar Co., 891
A.2d 477, 503 (N.H. 2005) (representation in a catalog can be support express
warranty claim); Smith v. Brown & Williamson Tobacco Corp., No. 4:96-CV-00459,
1999 WL 33944680, at *8 (W.D. Mo., Jan. 29, 1999) (brochure or advertisement can
be a warranty); State Farm Ins. Co. v. Nu Prime Roll-A-Way of Miami, 557 So.2d
107, 108 (Fla. App. 1990) (representations in advertisements, circulars, etc. may
constitute express warranty); Bohlke v. Shearer’s Foods, LLC, No. 9:14-CV-80727,
2015 WL 249418 (S.D. Fla. Jan. 20, 2015) (“All Natural” and “No Artificial
Ingredients” statements on snack packaging may support an express warranty claim)
(citations omitted).

                                        21
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warranty is not required to “cite to a specific express warranty,” but only needs to

show they were aware of a representation about the goods.58

      For more than a century, Defendants cultivated an image of trust, so that its

“brand was ‘not merely a Trademark, but a Trustmark.’”59 Defendants “consistently

used language that portrayed talcum powder as ‘safe,’ ‘natural,’ and ‘pure.’”60

Within J&J, its Baby Powder was seen as the “corporation’s #1 asset” that “drives

positive imagery and emotional attachment to the company.” 61 Defendants were

aware of customers’ belief in the company and “deep personal trust” resulting from

their investment in brand image.62 Defendants’ marketing strategy resulted in a

“brand halo of trust that extended to Johnson’s Baby and the J&J parent brand.”63

      Plaintiffs have demonstrated that they were aware of the representations made

by Defendants. Ms. Converse relied on Defendants’ false statements and trusted the

brand to be safe, probably because of the commercials. She looked at the back of the

bottle from time to time and never saw ovarian cancer warnings. She “just felt very


58
   Couturier v. Bard Peripheral Vascular, Inc., 548 F.Supp.3d 596, 611 (E.D. La.
2021) (citations omitted). See also Hunte v. Abbott Labs., 556 F.Supp.3d at 89 (D.
Conn. 2021); Nuwer v. FCA US, LLC, 2023 WL 8724014, *8 (S.D. Fla., Sept. 29,
2023) (citations omitted); Smith v. Brown & Williamson, 1999 WL 33944680, *8.
59
   Ex. 32, Expert Report of George E. Newman, Ph.D., ¶¶12, 20 November 15,
2023 (“Newman Rep.”); see also PSC’s Stmt. Material Facts.
60
   Ex. 32, Newman Rep. at ¶ 22.
61
   Id. at ¶ 41, citing JNJTALC000354984, Slide 3 and JNJ000674963,slide 3.
62
   Id. at ¶¶ 34-35, citing JNJTALC000354984, Slides 18, 25 & 29; id. ¶ 43, citing
JNJTALC00035498, Slides 51 & 52.
63
   Id. at ¶ 44, citing JNJTALC000354984.

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comfortable with it.”64 Ms. Converse testified that a warning would have caused her

to not use the product.65 Ms. Gallardo relied on the false statements and

representations of Defendants in deciding to purchase and use Johnson’s Baby

Powder. She chose the product over other brands because she trusted Defendants.

She looked at ads talking about The Products being safe and effective. She never

saw a warning about ovarian cancer on the bottle, and she would have stopped using

the product if she had seen such a warning. 66 Ms. Judkins saw advertisements for

Johnson’s Baby Powder, and they “totally,” “absolutely” made her think the product

was safe.67 Ms. Rausa saw advertisements for The Products being used on babies,

and this made her feel The Products were safe.68 Ms. Newsome recalled seeing

advertisements encouraging the use of The Products on babies. “The impression that

I got, that it was safe, it was pure or sterile because it was used on babies . . . .”69

Ms. Bondurant died before being able to identify her exposure to J&J’s

representations. That should not weigh against the ability to show her awareness and




64
   Ex. 33, Dep. of Hilary Converse at 180:18-25, 181:1-7.
65
   Id. at 181:10-25.
66
   Ex. 34, Dep. of Anna Gallardo, 117:12-25, 118:1-10.
67
   Ex. 35, Dep. of Carter Judkins, 220:10-15.
68
   Ex. 36, Dep. of Pasqualina Rausa, 40:9-11, 156:16-23, 157:7-12.
69
   Ex. 37, Dep. of Tamara Newsome at 218:13-16.

                                          23
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reliance, particularly since J&J has stated that their advertising for talcum powder

use for adult women reached 90% of all households.70

       Clearly, Plaintiffs have demonstrated they were aware of, and relied on,

Defendants’ statements, representations, and advertisements about The Products.

Contrary to Defendants’ argument, this matter is not about puffery or “generic

claims” of safety. 71 Plaintiffs’ reliance on Defendants’ representations was born out

of Defendants’ long-standing and painstaking efforts to equate their brand with trust.

Defendants’ own market research “indicated that 72% of consumers trusted

Johnson’s talcum powder products.”72 Defendants’ cultivation of “positive imagery

and emotional attachment to the company” was a deliberate strategy for its top

corporate asset. 73

       Courts have found that advertisements and marketing materials can form the

basis of an express warranty where the consumer was aware of the representations.

Plaintiffs have shown the pervasiveness of Defendants’ successful efforts to establish

its “Trustmark” through marketing of the “corporation’s #1 asset,” Johnson’s Baby


70
   Ex. 38, JNJ 000877320_0007. A Florida court reversed summary judgment on
fraud claims, after finding that “Appellant’s lack of knowledge concerning what
her husband relied on … does not conclusively establish that the decedent did not
rely on any statements or omissions.” Ferlanti v. Liggett Group, Inc., 929 So.2d
1172, 1175 (Fla. App. 2006).
71
   Deft. Memo. at 18.
72
   Ex. 32, Newman Rep. ¶ 34, citing JNJTALC000354984, slide 18.
73
   Id. at ¶¶ 41-42, citing JNJTALC000354984, Slide 3 & 7, JNJTALC000354984,
Slide 71.

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Powder, and building on that trust when launching Shower to Shower, “directed

specifically for adult use.”74 Plaintiffs were aware of, and relied on, Defendants’

warranties in the purchase and use of The Products. Clearly, Defendants have not

met their burden of showing that there are no genuine issues of material fact

regarding the breach of express warranty claims.

      2. Plaintiffs Have Provided Sufficient Evidence to Proceed with Claims
         For Fraud and Fraudulent Concealment

      Fraud and fraudulent concealment share core elements. To prove fraudulent

concealment, a form of fraud, Plaintiffs must demonstrate an intent by Defendants

to conceal known facts, a duty to disclose, and an occasion to speak. 75 Defendants

consistently used terms such as “safe,” “natural,” and “pure” to describe The




74
   Id. at ¶¶ 23-24, 26-29, 31, 39, 41-44.
75
    Robinson v. McCulloch, 2024 WL 2289464, *12 (Ct. Super., May 14, 2024)
(citations omitted). See also King v. Philip Morris, Inc., 2000 WL 34016358, *10
(N.H. Super., Nov. 2, 2000) (fraud elements are “fraudulent representation with
knowledge of its falsity or with conscious indifference to its truth with the intention
to cause another to rely upon it”) (citations omitted); Parke v. Progressive Casualty
Ins. Co., 613 S.W.3d 428, 431 (Mo. App. 2020) (“liability arises from a party’s
silence ‘where the law imposes a duty to speak.’ Whether or not there exists a duty
to disclose is determined by the facts of each individual case.”) (citations omitted);
Lloyd v. General Motors Corp., 916 A.2d 257, 275 (Md. App. 2007) (essential
elements include a duty to disclose a material fact, failure to disclose the fact, with
the intent to deceive, justifiable reliance, and injury); Drbul v. Gooding, 2018 WL
11399595 (Ct. Super. Feb. 15, 2018) (fraud claim requires showing that the
defendant made a false representation as a “statement of fact” intending to induce
reliance, and the plaintiff “relied on the statement to his detriment”) (citations
omitted).

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Products. 76 As early as 1966, Defendants were aware that talcum powder had health

risks. The Director of Development for J&J’s Health Care Division asked whether

they could “explore this phenomenon either to obtain data to refute this problem or

to develop mechanisms to reduce the hazard.”77 As early as 1973, Defendants were

aware of the “Asbestos or Asbestos-form controversy” and were “confident that fiber

forming or fiber type minerals could be found in the talc mine, and that fibers that

“might be classified as asbestos fibers” could be in talc.78 J&J executives noted in

1974, “During the past couple of years, our need for a non-talc dusting powder has

increased as a direct result of the talc/asbestos controversy.” 79

      In 1975, a J&J document noted “[n]ewer questions raised by proponents of

talc safety now revolve around general mineral inhalation and presence of possible

cancer producing trace impurities.”80 J&J knew of a 1982 study suggesting a

possible link between ovarian cancer and talc fibers, based on translocation of the

fibers from the perineal area to the ovaries. 81 In 1986, J&J indicated awareness of

retrospective studies implicating use of talc in the vaginal area with ovarian cancer.82



76
   Ex. 32, Newman Rep. ¶¶ 22-23.
77
   Id. at ¶ 45, citing JNJ000235850.
78
   Id. at ¶ 50, citing JNJ000251888 at 89
79
   Id. at ¶ 52, citing JNJNL61_000001955
80
   Id. at ¶ 53, citing JNJ000026989
81
   Id. at ¶ 57. See also id. ¶ 63, citing JNJ000290680 (translocation listed as safety
issue for discussion at J&J May 20, 1985 meeting).
82
   Id. at ¶ 66, citing JNJ000000523, JNJ000000525

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      Despite their knowledge of the safety risks associated with talc, Defendants

continued to market, promote, and sell The Products as safe. Defendants did not alert

consumers about asbestos fibers in talc, or the scientific research reflecting a

possible link between talc and ovarian cancer. Instead, J&J engaged in targeted

marketing of The Products to specific demographics of women, including obese,

African American, and Hispanic women.83

      Further, Defendants took pains to avoid providing accurate information to

consumers about talc risks, and discussed, but never released, a label warning.84

Defendants went so far as to describe asbestos in talc as an “urban legend” on the

company website.85 Defendants did this with knowledge of its falsity. Further, The

Products benefitted from the “Trustmark” and brand halo of trust developed over a

century. Publicly, the risks of talc were not well-known.

      Plaintiffs have established knowledge of Defendants’ misrepresentations and

reliance on them in deciding to purchase and use The Products. Defendants’

widespread, concerted effort to conceal known risk information and to misrepresent

safety concerns is sufficient to support claims of fraud and fraudulent concealment.86


83
   Id. at ¶¶ 77-81, citing JNJ 000100785, JNJ000058760, JNJ000109468,
JNJ000119537.
84
   See id. at ¶¶ 61, 64-65, 88, 90.
85
   Id. at ¶ 95, citing J&J’s website, “Facts About Talc.”
86
   Similarly, in King, the court found that there were sufficient allegations about the
plaintiffs’ reliance on the defendants’ long-term effort to conceal information about
the health effects of smoking. King, 2000 WL 34016358, at *10.

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At the very least, Defendants have failed to demonstrate the absence of material fact

questions, and their motion should be denied.

       3. Plaintiffs’ Negligent Misrepresentation Claims Should Proceed to
          Trial

       The basic elements of a negligent misrepresentation claim are “a negligent

misrepresentation of a material fact by the defendant and justifiable reliance by the

plaintiff.”87 Defendants intentionally provided information to Plaintiffs, without

exercising reasonable care to determine its falsity. See supra, Section II.A.2.

Plaintiffs   were   injured   when    they    justifiably   relied   on    Defendants’

misrepresentations in purchasing and using The Products.




87
   Pigulski v. Johnson & Johnson, Inc., 2019 WL 2582540, *4 (D. N.H. June 24,
2019) (citation omitted). See also Hunte v. Abbot Labs.,, 556 F.Supp.3d at 87 (D.
Conn. 2021) (claim involves a known misrepresentation of fact, causing harm to
plaintiff who reasonably relied on it) (citations omitted); Duncan v. Savannah, LLC,
637 S.W.3d 633, 638-39 (Mo. App. 2021) (claim involving failures to exercise
reasonable care and intentionally supplying false information, where a party who
justifiably relied on the information suffered loss); In re 3M Combat Arms Earplug
Prods. Liab. Litig., 2023 WL 4359418 (N.D. Fla. June 14, 2023) (one of required
elements is reliance, and reasonable reliance is generally a jury question) (citations
omitted); Gross v. Sussex, Inc., 630 A.2d 1156, 1162 (Md. 1993) (negligently made
false statement of material fact, with intent that it be relied upon, reliance, and
damages caused by the statement) (citations omitted). Contrary to Defendants’
assertion, a special relationship is not required for this claim under Connecticut or
New Hampshire law. See Williams Ford, Inc. v. Hartford Courant Co., 657 A.2d 212,
222 (Ct. 1995) (no special relationship is required to state a claim for negligent
misrepresentation, reliance must be reasonable, and reasonableness is a question for
the trier of fact); Isaku v. Natusch, 2012 WL 5860245, *3 (Ct. Super. Nov. 1, 2012)
(no special relationship required).

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        There is a significant overlap in the evidence necessary to support Plaintiffs’

claims of breach of express warranty, fraud, and negligent misrepresentation. Each

claim requires some type of representation, plaintiffs’ awareness of those

representations, and that the representations are relied on or became part of the basis

of the bargain. 88 Misrepresentation claims sounding in fraud and negligence have

largely similar elements, with the essential difference being the intent required for

fraud claims.89 As Plaintiffs’ have satisfactorily supported their claims sounding in

fraud, their evidence also meets the more lenient standard for negligent

misrepresentation. Defendants’ Motion for Summary Judgment should be denied.

     B. There is sufficient evidence to submit Plaintiffs’ manufacturing defect
        claim to the jury

        To prevail on a manufacturing defect claim, plaintiffs must demonstrate that

“at the time the product left its manufacturer’s control, the product deviated in a

material way from the manufacturer’s specifications or performance standards for

the product.” Stahl v Novartis Pharms. Corp., 283 F.3d 254, 263 (5th Cir. 2002)

(analyzing manufacturing defect claim under Louisiana law); see also Moss v Wyeth

Inc., 872 F.Supp. 2d 162, 166 (D. Conn 2012) (“a manufacturing defect is a mistake



88
  See supra, discussions of law and supporting facts at Section II.A.2.
89
  Arnow v. Retina First LLC, 2024 WL 4056633, *7 (D. Md. Sept. 5, 2024);
Grimes v. Lottes, 241 So.3d 892, 896 (Fla. App. 2018); Leonard v. BASF Corp.,
2006 WL 3702700, *6 (E.D. Mo. Dec. 13, 2006); Fleming v. Garceau, 2018 WL
1384985, *4 (Ct. Super. 2018).

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in the assembly process, which results in a product that differs from the

manufacturer’s intended result.”); Richcreek v. Gen. Motors Corp., 908 S.W.2d 772,

776 (Mo. Ct. App. 1995) (“a manufacturing defect occurs when something goes

wrong in the manufacturing process and the product is not in its intended

condition.”); Cassisi v. Maytag Co., 396 So.2d 1140, 1146 (Fla. App. 1981) (the

Restatement “places the burden on a plaintiff to establish that his injuries were

caused by a product which was in a defective condition at the time it left the hands

of the seller.”); Shreve v Sears, Roebuck & Co., 166 F. Supp.2d 378, 411 (D. Md.

2001) (To sustain a manufacturing defect claim, “a plaintiff must present some

evidence that the product was not manufactured in accordance with the

manufacturer’s specifications.”); Thibault v. Sears, Roebuck & Co., 118 N.H. 802,

807 (N.H. 1978) (manufacturing defect exists “where the defect is an accidental

variation caused by a mistake in the manufacturing process; that is, where the

product does not conform to the great majority of product manufactured in

accordance with that design." (internal citations omitted)).

      Defendants’ argument against Plaintiffs’ manufacturing defect claims misses

the mark. Defendants assert there is no evidence of a manufacturing defect claim

because “plaintiffs contend that talc in the Products harmed them” and there is no

allegation that the inclusion of talc “was the result of some deviation from the




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Products’ intended designs or formulations.”90 However, as discussed above, for

decades before and throughout this litigation, Defendants have maintained that their

products are manufactured “pure” and “asbestos-free.”91 In contrast, when The

Products left Defendants’ hands, The Products were contaminated with the

unintended presence of asbestos, heavy metals (nickel, cobalt, chromium, etc.), and

other toxic constituents such as fragrance chemicals. The presences of these

unintended constituents warrant the manufacturing defect claim.

      Additionally, at all relevant times, a feasible and safer alternative to talc

existed, which would have eradicated any end user’s potential exposure to asbestos,

heavy metals, and other toxic minerals. For example, cornstarch is an organic

carbohydrate that is quickly broken down by the body with no known adverse health

effects. Cornstarch powders have been sold and marketed for the same uses as the

Defendants’ Products with nearly the same effectiveness as talcum powders. 92

      1. For well over 50 years, Defendants have known that asbestos could
         be found in the talc used to make their products.

      J&J’s executives acknowledged this in an April 26, 1973 internal

memorandum:

      It is our joint conclusion that we should not rely on the “Clean Mine”
      approach as a protective device for Baby Powder in the Current

90
   Deft. Memo. at 25.
91
   See Second Amended Master Long Form Complaint (“2d Amd. Compl.”),
Exhibit 118; Exhibit 165; Exhibit 206. See also Section II.A, supra.
92
   Second Amd. Compl. ¶ 84; Ex. 39, JNJ 000011777-000011836.

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      Asbestos or Asbestos-form controversy. We believe this mine to be
      very clean; however, we are also confident that fiber forming or fiber
      type materials could be found. The usefulness of the “Clean Mine”
      approach for asbestos only is over.
      ....
      Our Baby Powder contains talc fragments classifiable as fiber.
      Occasionally sub-trace quantities of tremolite or actinolite are
      identifiable (optical Microscope) and these might be classified as
      asbestos fiber. 93

      Since the 1960s, J&J and its outside consultants have continued to find

asbestos in JBP and its mine sources, including chrysotile and amphibole asbestos,

using multiple testing methods, including Polarized Light Microscopy (PLM) and

Transmission Electron Microscopy (TEM). 94

      Beginning in the 1930s, medical and scientific literature emerged indicating

talc was commonly, if not invariably, contaminated with substances known or

suspected of being carcinogenic, such as asbestos, silica, quartz, nickel, and

arsenic. 95 Over the next several decades, a growing body of medical and scientific

literature demonstrated that direct and secondary exposure to talc, including

asbestos-containing talc, was hazardous to exposed persons’ health in that it could

cause lung disease, cancer, and death.96 For example, the United States Geological

Survey on Commercial Talc Production conducted in 1965, as well as those dating


93
   Ex. 40, J&J Memo from D. R. Petterson to D. D. Johnson (Apr. 26, 1973) at 1-2.
94
   See Ex. 41, Hopkins Deposition (J&J Corporate Representative) (chart of
samples with asbestos).
95
   2d Amd. Compl.¶ 123.
96
   Id.

                                        32
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back to the 1800s, noted the presence of tremolite, anthophyllite and chrysotile

commonly among those minerals found within talc deposits. 97

      In 1968, a scientific study of store-bought, commercially available talcum

powders conducted by the Occupational Health Program, National Center for Urban

Industrial Health, was published and presented by the American Industrial Hygiene

Association.98 The study revealed that, contrary to popular belief, talcum powders

were not entirely pure, but rather contained various fibrous minerals, including

tremolite, anthophyllite, and chrysotile.99 This was not unexpected, as the study

explains, because these types of fibers are often present in fibrous talc mineral

deposits like those mined by Defendants for use in the Products.100

      Available documents indicate that during the same year and in the years

following, at least one company began testing store-bought talcum powders for

asbestos content.101 Despite tests showing some commercial talcum powders

contained asbestos, there is no evidence that these positive results or the brand names

of contaminated products were communicated to any governmental agency, the

media or the public. The study concluded,



97
   2d Amd. Compl.¶ 124.
98
   2d Amd. Compl.¶ 125.
99
   Id.
100
    Id.
101
    Ex. 42, Cralley et al., Fibrous and Mineral Content of Cosmetic Talcum
Products, 29 Am. Industrial Hygiene Assoc. J. 350, 354 (1968).

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      [a]ll of the 22 talcum products analyzed have a . . . fiber content . . .
      averaging 19%. The fibrous material was predominantly talc but
      probably contained minor amounts of tremolite, anthophyllite, and
      chrysotile [asbestos-like fibers] as these are often present in fibrous talc
      mineral deposits . . . Unknown significant amounts of such materials in
      products that may be used without precautions may create an
      unsuspected problem.102

      In 1971, the New York City Environmental Protection Administration Air

Resources Board conducted a study of two “leading” brands of talcum powder using

TEM and X-ray diffraction analysis (“XRD”) and found them to contain 5-25%

tremolite and anthophyllite asbestos fibers. 103 A 1976 follow-up study of

commercially available talcum products concluded that “[t]he presence in these

products of asbestiform anthophyllite and tremolite, chrysotile, and quartz indicates

the need for a regulatory standard for cosmetic talc . . . We also recommend that

evaluation be made to determine the possible health hazards associated with the use

of these products.”104

      In 1984, Paoletti, et al., analyzed talc powders from national and international

markets to assess their fiber contents and the proportion of asbestos in the fibrous

material. 105 Analysis of talcum powder samples revealed that the powders contained


102
    Id.
103
    2d Amd. Compl.¶ 126.
104
    Ex. 43, Rohl A, et al., Consumer talcums and powders: mineral and chemical
characterization, 2 J. Tox. Environ. Health 255-284 (1976)).
105
    Ex. 44, Paoletti, et al., Evaluation by Electron Microscopy Techniques of
Asbestos Contamination in Industrial, Cosmetic, and Pharmaceutical Talcs, Reg.
Tox. and Pharm. 4, 222-235 (1984).

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fiber content up to 30% of total particles. About half of the talc powders revealed the

presence of asbestos. 106

      In 1991, Alice Blount tested talc mined from Vermont, including Johnson’s

Baby Powder, and found that the powder contained asbestos fibers and needles.107

      In 2019, the FDA contracted AMA Analytical Services, Inc. to test samples of

talc-containing cosmetics, including Johnson’s Baby Powder. 108 AMA identified

chrysotile asbestos and talc fibers in a sample of Johnson’s Baby Powder.109

      Defendants undertook a manufacturing process that was supposed to (1)

source talc that was asbestos-free and pure; or (2) process talc to remove asbestos

and other carcinogenic constituents. To the extent Defendants’ products reached

consumers, including each of the Plaintiffs, and the products contained asbestos or

other carcinogenic constituents, the products were not within Defendants’

manufacturing specifications. 110




106
    Id. at 222.
107
    Ex. 45, Blount, A M., Amphibole Content of Cosmetic and Pharmaceutical
Talcs, 94 Envtl. Health Perspectives 225 (August 1991); see also Ex. 46, Dep. of
Alice Blount (April 13, 2018) at 30:16-33:8; 47:15-25.
108
    2d Amd. Compl.¶ 132.
109
    Id.
110
    In fact, Dr. Longo tested several bottles of Johnson’s Baby Powder that were in
Ms. Newsome’s possession and had been used by her, and he detected the presence
of asbestos in those samples. See Ex. 47, MAS Project M71722, Talcum Powder
Analysis, Tamara Newsome – Johnson’s Baby Powder Containers at 3.

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      Given Defendants’ representations that the products were “pure” and

“asbestos-free,” there is a genuine issue of fact as to whether Defendants’ products

suffered from a manufacturing defect when purchased and used by Plaintiffs.

   C. There is sufficient evidence for Plaintiffs’ claims for assumption of duty,
      civil conspiracy, aiding and abetting and concert of action to survive
      summary judgment.

      Defendants’ arguments that they are entitled to summary judgment on

Plaintiffs’ claims for assumption of duty, civil conspiracy, aiding and abetting, and

acting in concert are misplaced. Each cause of action is viable under the laws of the

various bellwether states, and Plaintiffs have presented sufficient evidence to raise

genuine issues of fact for trial. Further, Defendants’ citation to Travelers Indem. Co.

v. Dammann & Co., 594 F.3d 238 (3d Cir. 2010) to argue that claims should be

dismissed unless the state supreme court has decided the issue is contrary to the

findings and the law. As stated in Travelers, the federal court sitting in diversity “is

charged with predicting how another court… would rule on the record presented,”

and interpretations that restrict liability should be applied “where ‘two competing

yet sensible interpretations’ of the state law exists.” Id. at 253. The holdings in

Travelers are far different from the all-or-nothing interpretation Defendants ask this

Court to adopt.

      1. Plaintiffs’ assumption of duty claims are freestanding causes of
         action and supported by the factual record.




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      Defendants are incorrect in arguing that Plaintiffs’ assumption of duty claims

are not freestanding causes of action. Plaintiffs assert a negligence cause of action

against Defendants for their role in, among other things, the design, manufacture,

and distribution of a product that was inherently dangerous.111 Defendants have

repeatedly argued that their subsidiaries are wholly responsible under Plaintiffs’

negligence theories and that Defendants were not responsible for the acts of

negligence contained in the Second Amended Complaint. To the extent Defendants

deny liability under Plaintiffs’ negligence causes of action, Plaintiffs are entitled to

assert a separate and alternative cause of action for assumption of duty.

      Missouri has specifically recognized that “if a defendant assumes a duty, by

contract or by conduct, he can be held liable for injuries caused by the unsafe

performance of that assumed duty.” Brown ex rel. Bowman v. Express Med. Transp.

Inc., 135 S.W.3d 452, 457 (Mo. Ct. App. 2004)112 Other bellwether states have held

similarly. See Carignan v. New Hampshire Intern. Speedway, Inc., 858 A.2d 536,

540 (N.H. 2004) (“one who voluntarily assumes a duty thereafter has a duty to act

with reasonable care”); E.G. Rock, Inc. v. Danly, 633 A.2d 485, 492 (Md. App. 1993)

(“assumption of a duty, where none generally exists, and consequent potential


111
   2d Amd. Compl. ¶¶ 692-699.
112
   See also Kilventon v United Missouri Bank, 865 S.W.2d 741, 745 (Mo. Ct. App.
1993) (holding that if defendant “assumed an affirmative duty to implement safety
precautions, by contract or conduct, it was liable for injuries caused by unsafe
performance of the work if it negligently allowed the unsafe work to continue.”).

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liability under Maryland law are governed by [§ 324A].”); Bujol v. Entergy Services,

Inc., 922 So.2d 1113, 1133 (La. 2004) (recognizing cause of action against parent

company for assumption of duty where there is an affirmative undertaking of that

duty by the parent corporation.); Goldberg v. Florida Power & Light Co., 899 So.2d

1105, 1110-1115 (Fla. 2005) (holding that when a party assumes a duty, it does so

with the understanding that it will be done in a non-negligent manner).

         Restatement §324A establishes that an assumption of duty arises when the

defendant (1) undertakes to render services, (2) to another, (3) which the defendant

should recognize as necessary for the protection of a third person. Bujol, 922 So.2d

at 1129. Once plaintiff proves the assumption of a duty under that standard, and that

the defendant failed to exercise reasonable care, plaintiff can recover by proving that

defendant’s failure to exercise reasonable care increased the risk of such harm. Id.

         Defendants assumed a duty by affirmatively promoting the safety of The

Products and engaging governmental agencies to influence opinions related to the

safety of talcum powder.113 By voluntarily and affirmatively taking those actions,

Defendants assumed the duty of care as it relates to The Products and are responsible

for harm resulting from a breach of that duty of care.

         Defendants’ reliance on In re Temporomandibular Joint (TML) Implants

Prods. Liab. Litig., 113 F.3d 1484 (8th Cir. 1997), fails to consider Defendants’


113
      See infra, Section II.C.3.

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actions. In TML, summary judgment was affirmed where evidence showed only that

the parent company had standard trademark agreements with its subsidiary but had

not (1) inspected any of the subsidiary’s products, (2) provided any services to the

subsidiary, or (3) tested the use of silicone in any medical implants. Id. at 1494.

Likewise, Defendants’ citation to Bujol downplays Defendants’ actions by casting

them as only “concern” or “general communications… regarding safety” related to

The Products.114

         2. Plaintiffs have asserted viable, independent causes of action for civil
            conspiracy and aiding and abetting

            a. Civil Conspiracy

         Defendants argue that certain civil conspiracy claims must be dismissed

because the states do not recognize independent causes of action. Defendants’

arguments are limited to Plaintiffs Converse (Connecticut), Rausa (Florida),

Bondurant (Louisiana), and Newsome (Maryland). Defendants’ arguments are

wrong as to these Plaintiffs. Connecticut recognizes that a civil conspiracy action is

for damages caused by acts committed pursuant to a formed conspiracy rather than

by the conspiracy itself… Thus, to state a cause of action, a claim for civil conspiracy

must be joined with an allegation of a substantive tort.” Harp v. King, 835 A.2d 953,

972 n. 37(2003) (citations and internal citations omitted; emphasis in original); see



114
      Deft. Memo. at 29, citing Bujol, 922 So.2d at 1133.

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also Thames v. Thames, 196 So.3d 653, 655 (La. App. 2016) (“The Louisiana Civil

Code specifically addresses a conspiracy among tortfeasors . . . The actionable

element in a claim under this article is not the conspiracy itself, but rather the tort

which the conspirators agreed to perpetrate and which they actually commit in whole

or in part.”); Logan v. Morgan, Lewis & Brockius LLP, 350 So.3d 404, 412 (Fla.

Dist. Ct. App. 2022) (permitting Florida plaintiff to plead civil conspiracy where

plaintiff identifies an actionable underlying tort or wrong). Defendants improperly

cite to Chubb & Son v. C&C Complete Servs., LLC, 919 F. Supp.2d 666, 679 (D.

Md. 2013) for the proposition that Plaintiff Newsome’s civil conspiracy claim should

be dismissed. However, like the other states, Maryland recognizes that a party can

pursue a civil conspiracy claim if there is an underlying tort. See Sheard v. Bank of

America, N.A., 2012 WL 3025119, *3, n. 3 (D. Md. July 23, 2012).

      As outlined infra, Plaintiffs have properly pled and produced evidence

supporting claims of fraud and fraudulent concealment against all defendants.

Plaintiffs’ civil conspiracy claims are properly tethered to the underlying torts of

fraud and fraudulent concealment and are viable causes of action.

          b. Aiding and Abetting

      Defendants argue that aiding and abetting claims for only Bondurant and

Gallardo must be dismissed because neither Louisiana nor Missouri recognize these

claims as independent causes of action. Aiding and abetting is a recognized cause


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of action under Missouri law. See Nickell v. Shanahan, 2013 WL 2402852, *7 (Mo.

App. June 4, 2013), dismissed on other grounds at 439 S.W.3d 223 (Mo. Banc 2014),

(recognizing that aiding and abetting “has been expressly recognized as a cause of

action in Missouri”); Longergan v. Bank of America, N.A., 2103 WL 176024, *11-

12 (W.D. Mo. Jan. 16, 2013) (denying motion to dismiss cause of action for aiding

and abetting); Callaway Bank v. Bank of the West, 2013 WL 1222781, *2 (W.D. Mo.

Mar. 25, 2013) (affirming aiding and abetting as a recognized cause of action).115

Likewise, Louisiana recognizes aiding and abetting where conspiracy is also a cause

of action. See Guidry v. Bank of LaPlace, 661 So.2d 1052, 1057 (La. Ct. App. 1995)

(“In the absence of a conspiracy, there is no distinct cause of action for aiding and

abetting under Louisiana law.” (emphasis added)). See also Thomas v. North 40

Land Development, Inc., 894 So.2d 1160, 1174 (La. Ct. App. 2005) (“Absent a

conspiracy, Louisiana law does not recognize a distinct cause of action for aiding

and abetting.” (emphasis added)). As noted supra, Plaintiffs have asserted proper

causes of action for civil conspiracy and the causes of action for aiding and abetting

under Louisiana law can proceed.



115
   Defendants improperly rely upon Bradley v. Ray, 904 S.W.2d 302 (Mo. Ct. App.
1995) for the proposition that Missouri does not recognize aiding and abetting. In
Bradley, the court ultimately dismissed plaintiff’s aiding and abetting claim on the
merits, not because the cause of action did not exist, stating “even were this cause
of action recognized, however, plaintiff did not plead facts which support a claim
of aiding and abetting against defendants.” Id. at 315.

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      3. Plaintiffs have proffered triable issues of fact regarding their Aiding
         and Abetting and Conspiracy Claims

      Defendants’ arguments that actions by a corporation and its wholly-owned

subsidiaries cannot constitute conspiracy or concerted action are unavailing. In

relying upon Lima LS PLC v. PHL Variable Ins. Co., 2013 WL 3327038 (D. Conn.

July 1, 2013), Defendants ignore that Lima is distinguishable because it was decided

within the context of Sherman Act antitrust violations. See id. at *4 (court’s analysis

of plaintiff’s antitrust claims brought under Connecticut Antitrust Act). Copperweld

Corp. v. Independence Tube Corp., 467 U.S. 752 (1984) confirms as much,

discussing unreasonable restraints on trade effected by “contract, combination…

or conspiracy” and noted that the Act did not pertain to conduct that was “wholly

unilateral.” Id. at 768-770 (emphasis added).116 Defendants improperly apply the

antitrust rationale of Lima and Copperweld to tort actions.           Likewise, SBFO

Operator No. 3, LLC v. Onex Corp., 663 F. Supp. 3d 990 (E.D. Mo. 2023), analyzed

corporate conspiracy within the context of the RICO Act. See id. at 1012-14

(“Plaintiffs’ RICO conspiracy claims would still fail as a matter of law because there

can be no conspiracy within their corporate family” and finding that the state law

claims of conspiracy fail due to the absence of an underlying fraud.).


116
    Like Lima, Defendants’ reliance on Kenneth E. Curran, Inc. v. Auclair Transp.,
Inc., 591 A.2d 280 (N.H. 1986) is also inapposite because it analyzes an antirust
cause of action. See id. at 281 (plaintiff seeks equitable relief “to redress a violation
of the State anti-trust statute.”).

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                        a. Sufficient evidence supports Plaintiffs’ aiding and
                           abetting and civil conspiracy claims

      For decades, Defendants, individually, jointly, and in conspiracy with each

other, have been in possession of medical and scientific data, literature and test

reports evidencing that, when applied to the genital area, an ordinary and foreseeable

use by women, talc-based body powder and The Products are unreasonably

dangerous, hazardous, deleterious to human health, carcinogenic and potentially

deadly.

      Plaintiffs have adduced sufficient evidence to support their civil conspiracy

and aiding and abetting claims. The evidence shows that Defendants, along with

Imerys Talc America, Inc., J&J’s talc supplier, schemed, under the guise of trade

association activity, to form the Talc Interested Party Task Force (“TIPTF”) for the

deliberate purpose of preventing consumers from learning of the potentially harmful

effects of perineal talcum powder use; used improper, tortious means to accomplish

this illegal objective; and, as a result, proximately caused Plaintiffs’ injuries.

      Defendants and/or their predecessors-in-interest knowingly agreed, contrived,

combined, confederated, aided and abetted and/or conspired to cause Plaintiffs’

injuries by exposing Plaintiffs to The Products, which are harmful and dangerous.

      The TIPTF was formed in 1982 as a subgroup of the Cosmetic Toiletry and

Fragrance Association (“CTFA”). Allegedly, TIPTF was formed in response to Dr.

Daniel Cramer’s study, published that same year, which first established a

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statistically significant association between talc and ovarian cancer.117 TIPTF’S

purpose was to convince consumers that talc is safe. 118 The members of TIPTF

funded counter-research to discredit the connection between talc and ovarian

cancer.119 J&J was a member of the CTFA and the TIPTF and indemnified TIPTF

for its activities. 120 Luzenac, the predecessor-in-interest to Imerys, was also a

member of TIPTF.121

      The CTFA and TIPTF, using the money of its members, issued statements

falsely downplaying or denying the connection between talc and ovarian cancer. In

1992, for example, the CTFA prepared response scripts claiming that “[s]cientific

evidence in animals and humans shows conclusively that there is NO association

between talc and cancer of ANY KIND.” 122 The same year, CTFA claimed that

“human studies on talc and cancer in industrial settings have shown that industrial

exposure to talc, both by skin contact and inhalation, even at levels thousands of

times higher than lifetime consumer exposure, presents no significant risk.”123



117
    Ex. 48, Oct. 27, 1982 Minutes, Meeting to Address the Issue of Talc and
Ovarian Cancer (JNJ 000001403).
118
    Ex. 49, July 21, 1993 Draft TIPTF Minutes (JNJ 000011704).
119
    See Ex. 48, Oct. 27, 1982 Minutes (JNJ 000001403).
120
    See Ex. 50, May 24, 1994 Guarantee to Support Talc Interested Party Task
Force Activities (JNJ 000240311) (signed by Johnson & Johnson).
121
    See Ex. 49, July 21, 1993 Draft Minutes (JNJ 000011704)
122
    Ex. 51, June 9, 1992 CTFA Response Statement (PCPC_MDL00031784).
123
    Ex. 52, July 8, 1992 CTFA Response Statement, Safety of Talc NTP Report
(PCPC_MDL00031782).

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        Throughout 1992, Defendants continued using the TIPTF to address studies

showing an association between talc and ovarian cancer and to develop a “strategy

to defend the continued safe use of talc” which was “open to those companies willing

to provide financial support for this activity.”124 J&J and Imerys (then known as

Luzenac) were two of the primary acting, supporting, and funding members.125

Minute entries of the November 30, 1993 TIPTF meeting reflect five of the ten

industry representatives were from either J&J or Luzenac/Imerys.126 In 1994, the

CTFA issued a press release claiming that an FDA working group had concluded

that the epidemiological studies linking talc to ovarian cancer “were insufficient to

demonstrate any real association.” 127

        In 2000, a panel of 15 independent NTP scientists voted 13 to 2 to list talc as

a     carcinogen.   Luzenac’s     “Interoffice   Memorandum        re   Action    Plan

Recommendations for Final Phase of NTP Talc Review Process” recognized “[t]his

overwhelming margin of 13-2 suggests that the reviewers found the epidemiology

studies associating talc and ovarian cancer provided convincing evidence of talc

carcinogenicity in humans.”128 In a Luzenac/Imerys PowerPoint presentation, Steve


124
    See Ex. 53, JNJ000021035.
125
    See id.
126
    See Ex. 54, JNJ 000016508-JNJ 000016510.
127
    Ex. 55, Nov. 17, 1994 CTFA Response Statement, Talc (PCPC_MDL00030246).
128
    See Ex. 56, Oct. 10, 2000 Internal Luzenac/Imerys Memorandum “re Action
Plan Recommendations for Final Phase of NTP Talc Review Process”
(LUZ013053-LUZ013055).

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Jarvis, Luzenac’s (Imerys’) Director of Health, Safety, and Environmental Matters,

revealed the lengths to which Luzenac/Imerys and J&J, through the TIPTF, went to

manipulate and derail the NTP regulatory process.129 Jarvis proudly explained to the

parent company’s employees at a Rio Tinto meeting the dilemma the company had

faced:

         This morning . . . it is my distinct pleasure to present to you a summary
         of our most recent regulatory challenge involving the National
         Toxicology Program and their review of talc for potential listing in the
         10th Report on Carcinogens… Our major regulatory challenge . . . a
         challenge I might add that Luzenac could not afford to lose . . . came
         from the NTP.

         The NTP was authorized by the United States Congress to coordinate
         interagency toxicological testing and to publish the formal “Report on
         Carcinogens” which comes out about every 18-24 months . . . To be
         listed in the RoC can be devastating to a substance because of
         mandatory labeling requirements by OSHA and Proposition 65 in
         California.

         In early 2000, NTP nominated talc for possible listing in the RoC
         because back in the early 1990’s, the NTP published the results of a 2-
         year talc inhalation study on rats and mice and concluded that talc
         caused lung tumors in female rats.130

Jarvis further explained to everyone how they had manipulated and duped the NTP:

         Okay . . . so here’s what happened.

         NTP announces in early 2000 that talc is going to be reviewed. While
         this announcement catches us off guard, we are not alarmed.



129
      See Ex. 57, LUZ021921-LUZ021929.
130
      Id. at LUZ021921-LUZ021923.

                                            46
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         But then, in October 2000, NTP issues their draft report on talc and
         announces that the first two formal reviews resulted in votes to list talc
         as a carcinogen. The combined vote was 13-2 to list.

         The entire talc industry, as well as companies like J&J were
         absolutely, positively, unquestionably, flabbergasted . . . We simply
         could not believe it.

         But now we had only two months to prepare for the third NTP review
         meeting . . . a public meeting of the influential Board of Scientific
         Counselors Subcommittee. This occurred in December of last year and
         we achieved a very dramatic turnaround. The BSC subcommittee
         voted 7-3 not to list.

         And finally . . . we fast-forward to this past June for the fourth and final
         review process. We see the NTP Executive Committee took the
         unprecedented action to actually “stop” the review process on talc and
         send it back to the beginning. They did this by deferring a final vote on
         talc. 131

The foregoing begs the question, how did Luzenac/Imerys take the 13-2 vote of

independent, objective scientists in favor of listing talc as a carcinogen based upon

“convincing evidence of talc carcinogenicity in humans” and convince them to defer

the vote? Jarvis proudly touted how they had manipulated the subcommittee of this

government sanctioned body:

         Our successful defense strategy was threefold.
         First . . . we continue to work through the auspices of the CTFA [n/k/a
         PCPC] – the Washington based trade association for the cosmetic
         industry. As you might imagine, Luzenac and [J&J] wield
         considerable influence on the talc subcommittee. 132



131
      Id. at LUZ021925-LUZ021926 (bold emphasis added; italics original).
132
      Id. at LUZ021926 (emphasis added).

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This is direct evidence of a meeting of the minds between Luzenac/Imerys and J&J

to work through the CTFA. Defendants’ manipulation of the regulatory process,

however, was not relegated to its direct influence over the subcommittee, rather,

Imerys and J&J also enlisted a secondary organization, the Center for Regulatory

Effectiveness, or CRE:

        Secondly . . . and this was our secret weapon, engage the services of
        Washington based Center for Regulatory Effectiveness, CRE.
        Since its formation in 1996 by several ex-high ranking officials in the
        OMB, CRE has grown into a nationally recognized . . . and relatively
        respected . . . regulatory watchdog organization. Federal agencies
        frequently come to them for assistance. CRE has also taken NTP to
        court.133

As Jarvis continues, it becomes clear why Luzenac/Imerys and J&J needed secret

weapons in the fight with unarmed scientists:

        And thirdly, we decided to be aggressive. This is a fight we simply
        could not lose. As such, we retained expert legal counsel to ensure we
        would have a solid foundation for a legal challenge if necessary . . . it
        was the same firm which assisted CRE in their court battle with NTP .
        . . and we also became very aggressive in our communication with NTP
        and other federal agencies. When(sic) didn’t let the windows of “formal
        comment periods” become restrictive. We sent e-mails, faxes,
        overnight letters, and even telephones(sic) calls to key players in this
        battle . . . right up until hours before the final Executive Committee
        meeting.

        And we believe these strategies paid-off.134




133
      Id. at LUZ021926-LUZ021927 (emphasis added).
134
      Id. at LUZ021927.

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Clearly, as Jarvis explained, wielding their “considerable influence on the talc

subcommittee,” firing their “secret weapons,” and unleashing their “aggression”

towards NTP was a success, but not a “total victory”:

        While we certainly would have preferred a total victory – where NTP
        declared talc was not a human carcinogen . . . we were relieved to at
        least get the review process “derailed” for now . . . at least we have
        some “breathing space” to prepare a thorough, scientific defense of
        talc. 135

        Their considerable influence included levying threats against NTP to

discourage an objective assessment by the NTP:

        The threat of litigation against NTP may be the primary (and
        perhaps the only) real weapon we have in our arsenal that might
        discourage them from listing talc. Hopefully, if NTP suspects that
        their entire talc nomination review could be in jeopardy because of
        this definition issue, they may want to avoid a public battle that could
        prove embarrassing – and therefore not recommend listing at the
        Executive committee meeting. If they do not feel threatened by
        potential court action, then litigation on this issue becomes a real
        possibility.136

        Defendants exerted their influence and threatened the regulatory bodies

evaluating talcum powder because of their own economic self-interest:

        Luzenac America mines and processes around a half-a-million tons per
        year [of talc] generating approximately $85 million in sales….

        You might be interested to know that we produce all baby powder
        for Johnson & Johnson – including the talc for their popular adult
        product, Shower-to-Shower...


135
      Id. at LUZ021928 (emphasis added).
136
      See Ex. 56, Oct. 10, 2000 Memo. (LUZ013053-LUZ013055).

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      A listing of talc in the RoC would have devastating consequences for
      the talc market worldwide.

      First of all . . . we would see a virtual immediate loss of our sales in the
      personal care market – around $10 million in sales in the first year.

      Secondly . . . because of the carcinogenic labeling requirements, we
      would likely suffer a deterioration of sales in all markets . . . perhaps
      anywhere from 20% to 50% of all remaining sales by year-three.

      Additionally, a listing in the U.S. by NTP would likely trigger a
      carcinogenic status for talc in Europe and the Far East.

      And finally . . . Because of our consumer product exposure, civil
      litigation would likely skyrocket.

      As I mentioned, simply devastating consequences. 137

The foregoing presentation was accompanied by a skull-and-crossbones emblazoned

“Monopoly Board” for visual effect to show all the landmines Defendants had to

navigate in order to continue marketing talcum powder.138 Nonetheless, internally

Imerys acknowledged the association and health issues with talc:

      Now realistically . . . there are some health issue with talc. For nearly
      20 years, epidemiologists have been finding a weak, but persistent
      statistical link between hygienic use of talc and ovarian cancer. 139

      J&J likewise takes credit for derailing the NTP process by conspiring with

Imerys as their very own Director of Toxicology, Steven Mann, sent out an email to

numerous Johnson & Johnson executives and personnel taking credit for the NTP


137
    See Ex. 57 at LUZ021922-LUZ021924 (emphasis added).
138
    See Ex. 58, LUZ001298-LUZ001303, Ex. 59, LUZ022044-LUZ022050.
139
    See Ex. 57 at LUZ021924.

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withdrawing talc from consideration for listing on the 12th Report on Carcinogens.

He stated: “This is a direct result of our efforts in coordination with Luzenac and

CTFA. We did it!” 140 Dr. Mann continued working with Luzenac and CTFA

personnel to combat IARC and other agencies in the future.

      As far back as July 2006, Imerys had already decided, as Imerys put it, that

the “horse has left the barn.”141 This statement related to the defunding of a study

being commissioned by Imerys in an effort to develop studies refuting association:

      It became evident in late 2005 that we squandered away the window of
      opportunity to have this study completed in time for the IARC review
      meeting passed(sic)…
      The cosmetic and pharmaceutical companies engaged in the business
      of marketing dusting and body powders to the public have shown no
      enthusiasm for sponsoring new research on this issue…
      One of their primary arguments is that there are simply too many
      positive epidemiology studies published to stem the tide of negative
      sentiment.142

      This was consistent with Imerys’ view four years earlier in 2002 when trying

to figure out how to deal with “[a]dmissibility of 16 epidemiology studies – 14 of

which yielded a positive association” in relation to the NTP’s review of talc.143 They

even posited the cross examination Imerys’ corporate representative would face in a

fictitious case, being “potentially devastating from a product liability perspective:”



140
    See Ex. 60, P-1762 (JNJ000369269- JNJ000369270).
141
    See Ex. 61, LUZ001443-LUZ001444.
142
    Id.
143
    See Ex. 62, LUZ013093-LUZ013095.

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            [Plaintiffs’ attorney]: “So Mr. Zazenski, please tell the Court when
            Luzenac first learned that talc was possibly associated with ovarian
            cancer?”

            “When did you first start to warn consumers that this association was
            possible and under study?”

            “Did you not feel a moral and ethical obligation to inform women that
            the hygienic use of talc may increase their risk for ovarian cancer, or
            were the profits you were making from mining and selling this
            potentially dangerous, life-threatening product more important than
            protecting the health and welfare of the women and children in our
            society?”144

            J&J was no different. J&J’s retained toxicology consultant, Dr. Alfred

Wehner (who Imerys also sought to utilize to “bring about [their] desired result” of

obtaining a change of WHMIS’ designation of talc as a D2A “very toxic” substance)

pointed out the misleading and untrue statements made by the CTFA on behalf of

J&J and Imerys in a September 17, 1997 letter to J&J’s Manager, Preclinical

Toxicology:

            There is a German saying which translates as follows:

            “A true friend is not he who beguiles you with flattery but he who
            discloses to you your mistakes before your enemies discover them.”

            In this spirit I would like to volunteer a critique of the three CTFA
            response statements which you faxed me on September 11.

            …The problem with the response statement dated July 8, 1992, is more
            serious. The last sentence in the second paragraph states: “Finally,
            human studies on talc and cancer in industrial settings have shown that
            industrial exposure to talc, both by skin contact and inhalation, even at

144
      Id.

                                               52
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      levels thousands of times higher than lifetime consumer exposure,
      presents no significant risk.” This statement is outright false.

      ...The response statement dated November 17, 1994, is just as bad. The
      second sentence in the third paragraph reads: The workshop concluded
      that, although some of these studies suggested a weak association might
      exist, when taken together the results of the studies are insufficient
      to demonstrate any real association.” This statement is also
      inaccurate, to phrase it euphemistically. At that time there had been
      about 9 studies (more by now) published in the open literature that
      did show a statistically significant association between hygienic talc
      use and ovarian cancer. Anybody who denies this risks that the talc
      industry will be perceived by the public like it perceives the
      cigarette industry: denying the obvious in the face of all evidence
      to the contrary…

      …The workshop did not conclude that “the results of the studies are
      insufficient to demonstrate any real association.” As point out above, a
      “real” statistically significant association has been undeniably
      established independently by several investigators, which without
      doubt will be readily attested to by a number of reputable
      scientists/clinicians, including Bernard Harlow, Debra Novotny,
      Candace Sue Kasper, Debra Heller, and others. 145

In other words, Defendants’ mutual consultant acknowledged the CTFA response

statements submitted to NTP were a pack of falsities.

      Despite the warnings of their own consultant advising they had been lying to

the NTP through the CTFA, Imerys and J&J carried on their allegiance. In an




  Id. (emphases added); see also Ex. 63, IMERYS-A_0022689-IMERYS-
145

A_022690. Dr. Harlow, who presented at the 1994 Workshop, is an expert for the
PSC. He testified that the report of the workshop was inaccurate and not “fair and
balanced. He also testified that Johnson’s Baby Powder can cause ovarian cancer.
Ex. 64, Dep. of Bernard Harlow at 433,16-439: 4, P, 450; 19-455:7.

                                        53
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October 27, 2000 J&J “Confidential Memorandum” re “Proposal: Defending

Cosmetic Talc,” J&J explained they were doubling down on the CTFA:

        As you know, over the year, we’ve stood shoulder-to-shoulder with
        CTFA and its members in the unbending defense of the safety of several
        cosmetics ingredients. More often than not, together, we’ve prevailed.
        Like you, we have never shied away from a tough battle, and we’re not
        going to start now. We’re with you on this 100 percent of the way.
        While the objective of our forthcoming effort – to vigorously defend
        the safety of talc’s use in cosmetic products – is not in question, we
        need to be mindful of the following:

        …potential consumer outrage over its continued use in products used
        with babies and for female hygiene purposes may go off the charts…

        Consumer group, media and potential regulatory pressure to transition
        out of talc use – given that there is an alternative – may be
        overwhelming.

        Pediatricians and gynecologists have been advocating the use of
        cornstarch powder for years and now will become more vocal in
        their concerns about life.

        … Attached is a recommended action plan to do everything we can
        (within your budget parameters) to work with CTFA and its
        members to maintain consumer confidence in cosmetics products that
        include talc. As always, we are fully committed to working with CTFA
        and the industry to prevent a consumer scare and to allow the continued
        marketing of these products. But let us all be clear on what we’re up
        against. 146

       Despite potential consumer outrage over continued use of talcum powder for

female hygiene purposes, despite an available alternative to talcum powder (i.e.,

corn starch), despite pediatricians and gynecologists advocating for years for the use


146
      See Ex. 65, JNJ000010808-JNJ000010812 (emphases added).

                                          54
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of cornstarch rather than talc, and despite pediatricians and gynecologists becoming

more vocal about their “concerns about talc,” J&J utilized a “recommended action

plan” along with the CTFA and Luzenac/Imerys to continue marketing The

Products. 147 Despite acknowledging the only scientists supporting their denial of

“the obvious in the face of all evidence to the contrary” were a “very few number”

of scientific experts they had “recruited,” their directive was to advance the TIPTF

full throttle.148 Indeed, Luzenac/Imerys refers to these “recruited scientific experts”

as “the club” they were using to “stop the rumor about ovarian cancer in order to

free the development in cosmetic applications and avoid the initiation of a process

for classification of talc as carcinogenic.”149

      With the foregoing, taken as a whole, Plaintiffs have established, and a

reasonable jury can find: (1) two or more persons, i.e., the J&J Defendants and

Imerys Talc; (2) with an unlawful objective of preventing consumers from learning

about the potentially harmful effects of talc use; (3) after a meeting of the minds to

conspire through the TIPTF and otherwise; (4) committed multiple acts in

furtherance of their goal of hiding the hazards of talc; and (5) effectively deprived




147
    Id.
148
    See Ex. 66, JNJ000040596-JNJ000040597; see also Ex. 65, JNJ000010808-
JNJ000010812.
149
    See Ex. 67, LUZ011964-LUZ0011965; see also Ex. 65, JNJ000010808-
JNJ000010812.

                                           55
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Plaintiffs of the knowledge of the hazard giving rise to talc causing their ovarian

cancer. The conspiracy claims must be allowed to proceed to trial.

                     b. Noerr-Pennington Immunity Does Not Shield
                        Defendants
     Defendants’ contention that so-called Noerr-Pennington immunity shields

them from any civil conspiracy liability because they engaged in “freedom of

speech” protected by the First Amendment is incorrect as a matter of law. Noerr-

Pennington arose in the context of federal antitrust jurisprudence; it does not extend

to state products liability or personal injury cases. Even if it did, a jury can find on

the evidence before it that Defendants’ conduct strips them of that immunity.

      The Noerr-Pennington doctrine is not founded upon “freedom of speech,” as

Defendants claim. The doctrine arose to protect legitimate associational activity

from federal antitrust scrutiny. Through the doctrine’s two namesake cases, Eastern

Railroad Presidents Conference v. Noerr Motor Freight, Inc., 365 U.S. 127 (1961)

and United Mine Workers v. Pennington, 381 U.S. 657 (1965), the Supreme Court

held that the Noerr-Pennington doctrine immunizes private parties from federal

antitrust liability when multiple actors work together to legitimately attempt to

influence the passage or enforcement of legislation that might otherwise have

anticompetitive effects. Absent immunity, such joint activity would constitute a

federal antitrust violation.




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      This is not an antitrust case. Plaintiffs are not seeking to impose liability on

Defendants because of concerted efforts to “petition” the federal government to

obtain favorable legislation. Plaintiffs seek to hold Defendants liable for their

tortious failure to warn, and other tortious conduct aimed at Plaintiffs and other users

of The Products. Numerous courts have held that Noerr-Pennington immunity does

not apply in these circumstances. Indeed, one Pennsylvania court recently re-

affirmed this in another litigation concerning a different Johnson & Johnson

product. 150 Similarly, “the Noerr-Pennington doctrine is not a rule of evidence,” and

“while a corporation’s petitioning of government officials may not itself be the basis

of liability, evidence of such petitioning activity may be admissible if otherwise

relevant to show the purpose and character of other actions of the corporation.”151

Moreover, courts overseeing other talcum powder cases have rejected Defendants’

invocation of Noerr-Pennington as well. 152


150
    See, e.g., In re Tylenol (Acetaminophen) Marketing, Sales Practices & Products
Liab. Litig., MDL No. 2436, 2016 U.S. Dist. LEXIS 52294, at *61-62 (E.D. Pa. Apr.
19, 2016) (finding Noerr-Pennington “has no place” in products liability and false
advertising litigation where plaintiff is “not trying to restrain the defendants’ speech
or enjoin the defendants’ conduct towards the government . . .[n]or is the plaintiff
trying to base her cause of action on the defendants’ petitioning activities.”).
151
    Hernandez v. Amcord, Inc., 215 Cal. App. 4th 659, 678-79 (Cal. Ct. App. 2013);
see also Brand Name Prescription Drugs Antitrust Litig., 186 F.3d 781, 789 (7th
Cir. 1999) (same); Wolfe v. McNeil-PPC, Inc., No. 07-348, 2012 U.S. Dist. LEXIS
2160, at *17-19 (E.D. Pa. Jan. 9, 2012) (rejecting argument that Noerr-Pennington
compelled exclusion of two citizen petitions submitted to the FDA).
152
    See, e.g., Ex. 68, Fox Order (Jan. 26, 2016) at 7-8 (“The Court is not persuaded
by the argument that Plaintiff’s civil conspiracy claim is barred under Noerr-

                                          57
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      Finally, to the extent the Court may find that Noerr-Pennington applicable,

the “sham” exception would take Defendants’ conduct outside the doctrine’s

protections. The United States Supreme Court has refuse to find Noerr-Pennington

immunity if a party engaged “sham” petitioning, i.e., a defendant uses government

petitioning as a mere pretext to achieve an anticompetitive result “through improper

means.”153 Here, Defendants knew of the increased risk of ovarian cancer that their

talcum powder products posed, but nonetheless attempted to manipulate the public

discourse through deliberate misrepresentations and misinformation. In such

circumstances, a jury may find that Defendants’ conduct strips them of Noerr-

Pennington immunity.

   D. A Jury Could Conclude That J&J Engaged In Willful and Wonton
      Misconduct for Over Half A Century, Which Would Allow the
      Imposition of Punitive Damages

      With little analysis, Defendants summarily argue there is insufficient evidence

to show that they acted with “wanton and willful disregard” of Plaintiffs and,

therefore, are “entitled to summary judgment on their claims for punitive




Pennington and the First Amendment. Case law suggests the Noerr-Pennington
doctrine is narrow and limited in scope.”).
153
    City of Columbia v. Omni Outdoor Advertising, 499 U.S. 365, 380 (1991)
(internal quotations and citations omitted).

                                        58
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damages.”154 As numerous courts have held, including both appellate courts 155 and

the Courts of New Jersey,156 this is simply not so.

      Plaintiffs agree with Defendants that claims for punitive damages “are

governed by the law of defendant’s home state (in this case, New Jersey).”157 This

is because the corporate misconduct occurred primarily in New Jersey.158 Where the

defendant is a New Jersey corporation and where the malfeasance occurred in New

Jersey, the New Jersey Supreme Court has concluded that the state has a “strong

interest” in not only “encouraging the manufacture and distribution of safe

products,” but also “deterring the manufacture and distribution of unsafe products.”

Gates v. Kason Corp, 245 N.J. 478, 490 (1996); see also, McCarrell v. Hoffman-La

Roche, Inc., 153 A3d 207, 218, 227 NJ 569, 588 (2017)(affirming New Jersey’s

interest in deterring the manufacture of unsafe products by New Jersey

corporations).



154
    Deft. Memo. at 32, 30.
155
    See e.g., Ingham v. Johnson & Johnson, 608 S.W. 3d 663 (Mo. Ct. App. 2020)
156
    See e.g., Ex. 69, McNeil George v Brenntag, NA, et al., Doc. No. MID0L-7-49-
16-AS (N.J. Super. Ct. June 21, 2018) (Viscomi, J) (denying summary judgment
for plaintiffs’ talcum powder claims under the New Jersey Product Liability Act
and awarding punitive damages); Ex. 70, Barden v. Johnson & Johnson, Doc. No.
L-001809-17 (N.J. Super. Ct. Feb. 6, 2020)( jury verdict form awarding punitive
damages against J&J); Ex. 71, Lanzo v. Johnson & Johnson, Doc. No. L-7365-16
(N.J. Super. Ct. Apr. 23, 2018) (jury verdict form awarding punitive damages
against J&J) (both verdicts vacated on other grounds).
157
    Deft. Memo. at 30.
158
    Id.

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         Punitive damages are an important part of New Jersey’s scheme of deterring

the manufacture of unsafe products. N.J Stat. § 2A:15-5. 12. Under that statute,

punitive damages can be awarded if plaintiff proves, by “clear and convincing

evidence,” that defendants’ actions were “actuated by actual malice or accompanied

by a wanton and willful disregard of persons who foreseeably might be harmed” by

its actions. Id.

         Plaintiffs have clearly met that standard. As alleged in the Master Complaint,

and summarized above , J&J ignored evidence for over a half century that its

cosmetic talc powders—products with absolutely no medicinal benefits

whatsoever—likely contained asbestos and should be reformulated with cornstarch.

For example, as early as 1973, the U.S Congress received testimony that Johnson’s

Talcum powder should be reformulated because of the potential for asbestos

contamination:

         Before 1895, when Johnson and Johnson began talc manufacture,
         babies were commonly dusted with cornstarch; this safe substitute is
         still available, and at one-fourth the cost of talc. We recommend it.
         Don't use feminine hygiene sprays which contain talc.159

At the very same time in 1973, J&J realized internally that it could not rely on the

“‘clean mine’ approach for asbestos,” and acknowledged that Johnsons’ Baby

Powder might contain tremolite and actinolite” which “might be classified as



159
      2d. Amd. Compl. ¶ 103.

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asbestos fiber,” and that testing could not ensure that a final product will ever be

made which will be totally free from asbestos. 160 In this regard, J&J acknowledged

that “cornstarch is obviously another answer” since “by its very nature [cornstarch]

does not contain fibers.” 161 J&J ignored these warnings and continued to source talc

for its products from the same source for another thirty years.

       In addition, Defendants disregarded the persistent urging from the medical

and scientific community that it voluntarily substitute cornstarch for talc or, at the

very least, warn of the potential risk of ovarian cancer when talc is used for feminine

hygiene. For example, in 1994 (30 years ago), the American Cancer Coalition wrote

to J&J’s CEO urging J&J to voluntarily take action in light of the 22,000 cases

ovarian cancers per year and emerging literature showing talc increased that risk:

      The CPC urges you to immediately withdraw your talc products from
      the market and substitute them with a safer alternative such as
      cornstarch. At the very minimum, we urge Johnson and Johnson to
      label its talcum powder products with information about the ovarian
      cancer risk they pose.162

J&J ignored this request, as well as consistent urgings from the medical and

scientific community throughout the 1990’s, 2000’s, and 2010’s that voluntary action

be taken. For example:

      •     “We estimate that avoidance of talc in genital hygiene might
      reduce the occurrence of a highly lethal form of cancer by at least 10%.

160
    Ex. 40, J&J Memo from D. R. Petterson to D. D. Johnson (Apr. 26, 1973)at 1-3.
161
    Id. at p. 3
162
    See Ex. 72, Nov. 10, 1994 Letter from S. Epstein to R. Larson (JNJ 000016645)

                                          61
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         Balanced against what are primarily aesthetic reasons for using talc in
         genital hygiene, the risk benefit decision is not complex. Appropriate
         warnings should be provided to women about the potential risks of
         regular use of talc in the genital area.”163

      • “[G]iven the suggestive though uncertain role of talcum powder and
        EOC found in epidemiologic studies, including the present study,
        users should exercise prudence in reducing or eliminating use. In this
        instance, the precautionary principle should be invoked, especially
        given that this is a serious form of cancer, usually associated with a
        poor prognosis, with no current effective screening tool, steady
        incidence rates during the last quarter century and no prospect for
        successful therapy. Unlike other forms of environmental exposures,
        talcum powder use is easily avoidable.”164

      • “Since there are few modifiable risk factors for ovarian cancer,
        avoidance of genital powders may be a possible strategy to reduce
        ovarian cancer incidence.”165

While these scientists were urging action, J&J ignored them.

         As if those inactions were not bad enough, J&J actually encouraged the use

of its potentially deadly product for feminine hygiene though aggressive and

sustained marketing to women and girls. For example these ads from the 1970’s

reveal the contradiction between the state of science and the advertising interests of

J&J concerning the safety of its talcum powder:




163
    Ex. 73, Cramer D, et al., Genital Talc Exposure and Risk of Ovarian Cancer, 81
Int’l J. Cancer 351, 356 (1999).
164
    Ex. 74, Mills, et al., Perineal Talc Exposure and Epithelial Ovarian Cancer
Risk in the Central Valley of California, 112 Int’l J. Cancer 458, 464 (2004).
165
    Ex. 15, Terry (2013).

                                           62
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         The facts alleged in the Second Amended Master Complaint, if proven, show

“wanton and willful disregard” for these plaintiffs and could support a punitive

damage award using a “clear and convincing evidence standard.” Indeed, the

Missouri Appellate Court in Ingham found that punitive damages in the amount of

1.6 billion dollars were warranted against J&J for its conduct with respect to 22

women who developed ovarian cancer from Johnson’s Baby Powder under a nearly

identical standard, i.e. that there was “clear and convincing evidence Defendants

engaged in conduct that was outrageous because of evil motive or reckless

indifference.” Ingham, 608 S.W. 3d at 719 (emphasis added). New Jersey Courts

have held, on numerous occasions, the evidence that Defendants knew their

products contained asbestos for decades and continued to market it satisfied the New

Jersey punitive damage standard.166


166
      See n.156, supra.

                                         63
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        Despite the fact that juries have awarded punitive damages against

Defendants, they have remained unbowed and unrepentant. As one judge who has

heard the evidence has commented, even with the imposition of punitive damages

in the Ingham case, punitive damages were still important to be considered precisely

because J&J has remained undeterred:

        I understand it, is that you got a $1.6 billion punitive damages award
        and you have never, ever acknowledged that there is anything wrong
        with your product, even to this day. You continue to persist that your
        product is 100 percent safe, it didn't require any warnings, and if a jury
        -- if a jury, as the jury that awarded the $1.6 billion against you, if this
        jury could also conclude, or this Court can say by clear and convincing
        evidence, that all you're doing is persisting in the wrongful conduct, the
        wrongful behavior, you haven't learned anything 167

        Summary judgment is inappropriate on plaintiffs’ punitive damage claims.

III. DEFENDANTS ARE NOT ENTITLED TO SUMMARY JUDGMENT ON
   CERTAIN ADDITIONAL PLAINTIFF-SPECIFIC CLAIMS

      A. The Claims Brought By Ms. Converse Are Not Time-Barred Because
         the Action Did Not Reasonably Accrue Until 2017.

        Defendants contend that all of Ms. Converse’s claims are stale under Conn.

Gen. Stat. Section 52-577a. Defendants are wrong. General Statutes § 52-577a (a)

provides: “No product liability claim . . . shall be brought but within three years from

the date when the injury, death or property damage is first sustained or discovered

or in the exercise of reasonable care should have been discovered….”


167
   Ex. 75, Sugarman v. Johnson & Johnson, Case No: 2019-017627-CA-01, Trial
Tr. at 3899 (11th Jud. Cir. Fla. Mar. 1, 2024); see generally pages 2890-3902.

                                            64
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        Here, Plaintiff suffered an actual injury in 2007 when she was diagnosed with

                . However, she reasonably did not make or suspect a causal

connection between her use of Defendants’ talcum powder and her cancer until 2017.

Thereafter, Plaintiff timely filed her lawsuit in 2018—well within the requisite three

years of her first and reasonable suspicion that Defendants’ talcum powder caused

                   .168

        Ms. Converse testified that she first connected the possibly of              to

her use of Defendants’ product in 2017 when she came across an article or lawyer

ad suggesting a link between Johnson’s Baby Powder and ovarian cancer.169 She also

testified that she never asked nor was advised by her healthcare providers whether

there was a connection between talcum and ovarian cancer. 170 She explained that

after                                                                               .171

        Yet, Defendants wrongly claim Ms. Converse should have discovered the

causal relationship in 2007 based on internal J&J documents form 1971 and other

medical literature as referenced in her Complaint. However, as a layperson with no

medical background, training or experience, she should not be charged with




168
    Ex. 76, Hilary Converse filed her original Complaint, Converse v. Johnson &
Johnson, et al, No. 3:18-cv-17586-MAS-RLS on December 26, 2018.
169
    Ex. 33, Dep. of Hilary Converse, 40: 5-12; 41: 17-24; 176:7-2; 177:2-11.
170
    Id. at 177:20-24; 178: 14-17.
171
    Id. at 191:16-22.

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awareness of medical literature, nor internal company documents to which she had

no access.172

         Defendants also charge Ms. Converse with awareness of the causal link

between talc use and ovarian cancer in 2009 based on the lawsuit Berg v. Johnson &

Johnson, No. 09-4179-KES (D.S.D. Mar. 25, 2013). In support of this faulty

contention, Defendants argue that if another plaintiff knew then, Ms. Converse

should have known, too. This meritless claim is glaringly absent facts of how

Plaintiff Berg came to appreciate the link between her talc use and ovarian cancer or

any procedural history concerning the statute of limitation. Additionally, dissimilar

to Plaintiffs in IKB Deutsche Industriebank AG v McGraw Hill Financial, Inc., 634

F. App’x 19 (2d Cir. 2015), neither the factual allegations nor the verdict were widely

publicly available or known in the Berg case, as it was the first and only case then

claiming Johnson’s Baby Powder caused ovarian cancer. Ms. Converse cannot

reasonably be held to scienter of the causal link based on an obscure single case that

was filed in South Dakota in 2009. The standard is not omniscient.

      B. Ms. Gallardo’s Claims for Breach of Warranty and Fraud Were Tolled
         by Defendants’ Fraudulent Concealment

         Defendants contend that Ms. Gallardo’s warranty and fraud claims are time-

barred under Mo. Rev. Stat.§ 400.2-725(2) and Mo. Rev. Stat.§ 516.120(5).



172
      Id. at 64:7-18; 69:11-16.

                                          66
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However, based on Defendants’ improper act of concealing the heightened risk of

ovarian cancer associated with genital use of its talcum powder products, the

applicable statutes were tolled.

      Breach of warranty and fraud claims are not time-barred if the applicable

statutes of limitation were tolled under Mo. Rev. Stat. § 516.280, which states:

             If any person, by absconding or concealing himself, or
             by any other improper act, prevents the commencement
             of an action, such action may be commenced within the
             time herein limited, after the commencement of such
             action shall have ceased to be so prevented.

Thus, under section 516.280, fraudulent concealment of a cause of action may toll a

statute of limitations. See M & D Enterprises, Inc v. Wolff, 923 S.W. 2d 389, 400

(1996). Further, fraudulent concealment of facts giving rise to a cause of action may

constitute such an improper act. Tayborn v. Burstein, 748 S.W.2d 824, 826 (1988).

Fraudulent concealment is inapplicable if Plaintiff knows or should have known she

has a cause of action. Id. at 826.

      Here, while Defendants were aware of the heightened risk of ovarian cancer

associated with genital use of its talcum powder products as early as 1971, and

certainly by the mid-1980s, Defendants failed to warn consumers. Defendants never

placed warnings on product packaging, never issued public statements, and never

advised healthcare practitioners of the dangers they knew were associated with use




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of their products. Of course, such concealment of these safety risks from consumers

constitutes “improper acts” under Mo. Rev. Stat. § 516.280.

        Ms. Gallardo had no reason to know or suspect Defendants’ wrongdoing or

related causes of action until press coverage of a talc verdict in early 2016.173 That

jury concluded that Johnson’s Baby Powder caused a women’s ovarian cancer.

Learning of this verdict, Ms. Gallardo first suspected that her        may have been

caused by Defendants’ products. She thereafter retained counsel and timely filed her

lawsuit in 2017. 174 Defendants’ allegation that she filed suit in 2018 is yet another

disputed material fact. 175

        Accordingly, the evidence here supports Defendants’ fraudulent concealment

and tolling of Ms. Gallardo’s statutes of limitation; thereby her warranty and fraud

claims are not time-barred.

      C. Ms. Bondurant’s Claims for Fraud, Misrepresentation, Implied
         Warranty, Negligence, and Conspiracy Are Not Subsumed by the LPLA

        Defendants allege that Ms. Bondurant’s claims sounding in fraud,

misrepresentation, implied warranty, negligence and conspiracy fail because they are

subsumed by the remedies provided in the Louisiana Product Liability Act



173
    Ex. 34, Dep. of Anna Gallardo, 88:18-25; 89:1-14.
174
    Ex. 77, Anna Gallardo filed her original Complaint, Gallardo v. Johnson &
Johnson, et al, No. 3:18-cv-10840 on March 28, 2017. Defendants allege she filed
suit in 2018. (Deft. Memo. at 36). This, too, is a disputed material fact.
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    Deft. Memo. at 36.

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(“LPLA”), and that only her claims for manufacturing and design defects, failure to

warn, and breach of express warranty should move forward.

      The LPLA became effective on September 1, 1988, and "establishes the

exclusive theories of liability for manufacturers for damage caused by their

products." Brown v. R.J. Reynolds Tobacco Co., 52 F.3d 524, 526 (5th Cir. 1995)

(quoting La. Rev. Stat. § 9:2800.52). The theories of liability contained in the LPLA

are defective design, defective manufacture, failure to warn, and breach of express

warranty. La. Rev. Stat. §§ 9:2800.55-.58. Theories such as negligence, breach of

implied warranty, and fraudulent misrepresentation do not arise under the

LPLA. Lewis v. GE Healthcare, Inc., 2020 WL 1490719 at *4 (W.D. La. Mar. 25,

2020) (collecting cases). The LPLA is not retroactively applicable and is therefore

not a bar for causes of action which accrued prior to its enactment. Brown, 52 F.3d

at 527 (citing Cole v. Celotex Corp., 599 So.2d 1058, 1063 (La. 1992)).

      In this case, Plaintiff does not dispute that several of her claims, such as

negligence and breach of implied warranty, are barred by the LPLA if they accrued

after the LPLA's 1988 enactment. Thus, when Ms. Bondurant's claims accrued is the

central issue for determination and is a question of fact at this point in the litigation.

      In Smith v. 3M Co., 2021 WL 4037494 (W.D. La. Sep. 2, 2021), the Court

determined that Courts must apply the significant-exposure theory to determine the

accrual date. The Court was persuaded by the fact that other federal district courts


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have applied the significant tortious exposure theory in cases involving long-latency

occupational diseases, including those involving the LPLA. See Hayes v. Asbestos,

Corp., Ltd., 2014 WL 1270011, at *3 (W.D. La. Mar. 27, 2014); Moore v. BASF

Corp., 2012 WL 4928910, at *2 (E.D. La. Oct. 16, 2012); Singleton v. Chevron USA,

Inc., 835 F. Supp. 2d 144, 149 (E.D. La. 2011); Guidry v. S. Petroleum Lab'ys, 2007

WL 9700898, at *3 (M.D. La. Dec. 11, 2007); Young v. Taylor-Seidenbach, 2004 WL

1403399, at *3 (E.D. La. June 22, 2004).

      In Cole, 599 So.2d 1058, the Louisiana Supreme Court had to determine the

applicability of a Louisiana comparative fault statute to several plaintiffs who were

exposed to asbestos in the workplace. The statute at issue contained a clause stating

that it did not apply to “claims arising from events that occurred prior to” August 1,

1980. Id. at 1064. The Court therefore focused its analysis on defining the "relevant

'events' in long-latency occupational disease cases." Id. at 1066. Ultimately, the

court decided that "the key relevant events giving rise to a claim in long-latency

occupational disease cases are the repeated tortious exposures resulting in

continuous, on-going damages, although the disease may not be considered

contracted or manifested until later." Id. It therefore held that "when the tortious

exposures occurring before [the comparative fault statute's] effective date are

significant and such exposures later result in the manifestation of damages," the law

in effect before the comparative fault statute applies. Id.


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      Nearly ten years later, the Fifth Circuit had to decide the accrual date in a case

involving the LPLA. In Grenier v. Med. Eng'g Corp., 243 F.3d 200 (5th Cir. 2001),

a plaintiff underwent breast augmentation surgery in 1983 and began experiencing

health problems in the early 1990s that she later alleged were caused by the

implants. Id. at 203-04. Like Ms. Bondurant, the plaintiff included in her complaint

numerous theories of liability including defective design, defective manufacture,

failure to warn, breach of warranty and negligent misrepresentation. Id. at 203. The

Court determined that the availability of claims other than the those permitted by the

LPLA turned on when the plaintiff’s claims accrued. Id.

      The next year, in 2002, the Louisiana Supreme Court issued its decision

in Austin v. Abney Mills, Inc., 824 So.2d 1137 (La. 2002) . The Austin plaintiff

suffered from a long-latency asbestos-related disease, which he contracted after

working for two companies between 1955 and 1998. Id. at 1139. The court held that

the "significant tortious exposure" theory applies to determine the accrual date "in a

long-latency occupational disease case." Id. at 1154. This theory determines a

claim's accrual date based on when the plaintiff had exposures that are “significant”

and “later result in the manifestation of damages.” Id. The Austin court did not

address the Fifth Circuit's holding in Grenier, but it did expressly reject the argument

that Cole should be limited to its facts because it was merely interpreting the

meaning of "events" under a different statute. Id. at 1152-53.


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      This Court should likewise apply the significant tortious exposure theory to

determine when Ms. Bondurant's claims accrued and, consequently, whether the

LPLA is the exclusive remedy for Ms. Bondurant's claims related to products

liability. At this stage in the litigation, Plaintiff has carried her burden of pleading

facts sufficient to establish that her cause of action accrued prior to 1988 by alleging

that Ms. Bondurant’s exposure to Defendants’ products began in 1959. The exact

date at which her exposure was so significant that Ms. Bondurant's

would have progressed without further exposure is a factual issue which cannot

appropriately be determined on a motion to dismiss.

   D. Ms. Converse’s, Ms. Judkins’, and Ms. Rausa’s Negligent
      Misrepresentation Claims Do Not Fail For Lack of a Special Relationship.

      1.     Ms. Converse - In Connecticut, a plaintiff’s claim for negligent

misrepresentation requires a special relationship of trust and confidence which

creates a duty for the defendants to impart correct information to plaintiffs. See De

La Concha of Hardford, Inc v. Aetna Life Ins. Co., 2002 WL 31170495, at *8 (Conn.

Super. Ct. Aug. 23, 2002.) A special relationship exists where defendants “possess

unique or specialized expertise” or “are in a special position of confidence and trust

with the injured party.” Dallas Aerospace, Inc. v. CIS Air Corp., 352 F.3d 775, 788

(2d Cir.2003).




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         Defendants baldly contend there is “no evidence of any relationship between

the parties, much less a ‘special relationship of trust and confidence’ capable to

supporting negligent misrepresentation liability.”176 That is not the case.

         First, Defendants, manufacturers of talcum powder, have “specialized

expertise” as to their product. Indeed, Defendants’ internal documents evidence their

advanced and scientific knowledge of the product. This includes not only the

geological properties of talcum powder, but also the health consequences of the use

arising from research, published medical literature and regulatory agencies’ findings

and opinions. Accordingly, Defendants “possess unique or specialized expertise”

creating a special relationship with Plaintiff consumers.

         Second, Defendants created a special bond with women who bought their

talcum powder products. Defendants’ ads expressly and implicitly conveyed that it

was safe to use talcum powder for feminine hygiene. In turn, women trusted

Defendants to sell safe products for their intimate use and purchased the product

over and over - some using the products for 40 to 50 years. Indeed, Ms. Converse

testified she “just felt very comfortable with it.” She liked the brand and trusted it to

be safe because of the commercials.177




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      Deft. Memo. at 38.
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      Ex. 33, Dep. of Hilary Converse at 180:18-25, 181:1-7.

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         Accordingly, Plaintiff’s negligent misrepresentation claim stands because

Defendants possess “specialized expertise” and “are in a special position of

confidence and trust” with Plaintiff.

         2.    Ms. Judkins - Similarly, in New Hampshire, “[o]ne who volunteers

information to another not having equal knowledge, with the intention that the other

will act upon it, has a duty to exercise reasonable care to verify the truth of the

statements before making them.” Lacasse v. Majewski, 2020 N.H. LEXIS 92, at * 3

(Apr. 2, 2020); see also Snierson v. Scruton, A. 2d 1048, 1049-50 (N.H. 2000). A

“special relationship” exists between parties who have a contractual relationship or

where one party is a foreseeable and intended third-party beneficiary of a contract.

Stillwater Condo. Ass’n v. Town of Salem, 668 A.2d 38, 40 (N.H. 1995).

         Defendants advertised their talcum powder products as safe for a baby, leading

consumers to believe they were safe. As Ms. Judkins testified, she believed “if it’s

safe for a baby, wouldn’t it be safe for any human?”178 Defendants, as the product

manufacturers and sellers, had superior knowledge that the products were not in fact

safe. They stood in a “special relationship” with Ms. Judkins, the foreseeable and

intended third-party beneficiary of the contract.

         3.    Ms. Rausa - First, as noted above, Ms. Rausa’s claims are governed by

Florida law, not New York. Florida law does not require plaintiffs to establish a


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      Ex. 35, Dep. of Carter Judkins at 220:10-15.

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special relationship as an element of their negligent-misrepresentation claims. See

Coleman v. Burger King Corp., 2023 WL 5507730, at *9 (S.D. Fla. Aug. 23, 2023);

see also Arlington Pebble Creek, LLC v. Campbell Edge Condo. Ass’n, 232 So. 3d

502, 505 (Fla. Dist. Ct. App. 2017). Thus, Ms. Rausa’s negligent misrepresentation

claim does not fail as a matter of law.

                                  CONCLUSION

      For each of the above stated reasons, the PSC respectfully requests that the

Court deny Defendants’ Motion for Summary Judgment.




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Dated:    September 23, 2024       Respectfully submitted,

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